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    Transcript of Tim L. Wilson
                          Date: December 18, 2018
             Case: Gillispie -v- City of Miami Township, et al.




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   1                   UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
   2                        WESTERN DIVISION
   3     _____________________________________________________
   4     ROGER DEAN GILLISPIE,
   5                     Plaintiff,
   6     vs.                                       Case No. 3:13-CV-416
   7     CITY OF MIAMI TOWNSHIP, et al.,
   8                 Defendants.
         _____________________________________________________
   9
   10
   11
   12
   13                       Videoconference Deposition of:
   14                       TIM L. WILSON
   15                       Taken on behalf of the Plaintiff
   16                       9:14 A.M.
   17                       December 18, 2018
   18
   19
   20
   21
   22
   23
         _____________________________________________________
   24
   25    Reported by: Sandra Andrys, LCR, RPR, RMR
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   2
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   1     For the Defendants John DiPietro, Steven Gray and
         Thomas Angel:
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   1                                I   N   D   E   X
   2                                                               Page
         Examination
   3     By Mr. Owens                                                  6
   4     Examination
         By Mr. Dowd                                                 101
   5
         Examination
   6     By Mr. Kay                                                  111
   7     Examination
         By Mr. Owens                                                113
   8
         Examination
   9     By Mr. Dowd                                                 115
   10
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   14
                              E     X   H   I   B   I   T   S
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   16
         (None entered.)
   17
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   1                  S    T   I     P   U   L   A   T   I   O   N   S
   2
   3
   4                      The videoconference deposition of TIM L.
   5     WILSON was taken by counsel for the Plaintiff, at
   6     Baymont by Wyndham, 4038 U.S. 127, Crossville,
   7     Tennessee, on December 18, 2018, for all purposes
   8     under the Federal Rules of Civil Procedure.
   9                      All formalities as to caption, notice,
   10    statement of appearance, et cetera, are waived.                 All
   11    objections, except as to the form of the questions,
   12    are reserved to the hearing, and that said deposition
   13    may be read and used in evidence in said cause of
   14    action in any trial thereon or any proceeding herein.
   15                     It is agreed that SANDRA ANDRYS, LCR,
   16    RPR, RMR, Notary Public and Court Reporter for the
   17    State of Tennessee, may swear the witness, and that
   18    the reading and signing of the completed deposition
   19    by the witness are not waived.
   20
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                                 Transcript of Tim L. Wilson
                               Conducted on December 18, 2018                      6

   1                                 *     *     *
   2
   3                     MR. OWENS:        Do the folks who are on the
   4     video want to identify themselves first, and can you
   5     confirm that you can hear me?
   6                     MR. DETERS:           I'm here representing Angel,
   7     Gray, and DiPietro; they are all defendants.
   8                     MR. KAY:        Jeff Kay here -- David, I can
   9     hear you -- on behalf of Scott Moore.
   10                    MR. OWENS:        Anyone else?     Is that it?
   11                    MR. DETERS:           Ned is on as well.
   12                    MR. DOWD:        Sorry, I had it on mute.        I
   13    can hear you.
   14                    MR. OWENS:        All right, great.
   15
   16                                *     *     *
   17                           TIM L. WILSON
   18    was called as a witness, and having first been duly
   19    sworn, testified as follows:
   20
   21                             EXAMINATION
   22    QUESTIONS BY MR. OWENS:
   23    Q.        Good morning, sir.
   24    A.        Good morning.
   25    Q.        Could you please state and spell your name

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                                 Transcript of Tim L. Wilson
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   1     for the record?
   2     A.        Tim Lee Wilson, W-I-L-S-O-N, is the last
   3     name; Timmy, T-I-M-M-Y, middle name Lee, L-E-E.
   4     Q.        And, Mr. Wilson, have you ever been deposed
   5     before?
   6     A.        Yes.
   7     Q.        Okay.     How many times have you been deposed?
   8     A.        Once.
   9     Q.        And what was the context of that deposition?
   10    A.        It was a civil case.         My granddaughter at
   11    birth died, and it was a civil case as a result of
   12    that.
   13    Q.        So was it -- is it fair to say it wasn't
   14    related to any of your duties or capacities with
   15    respect to being a police officer?
   16    A.        Correct.
   17    Q.        And have you ever been named as a defendant
   18    in a lawsuit outside of this one?
   19    A.        No.
   20    Q.        Are you aware of any formal complaints that
   21    have been lodged against you as a result of or
   22    relating to your police work in any way?
   23    A.        Repeat that for me.
   24    Q.        Are you aware of any formal complaints having
   25    ever been filed against you related to your police

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                                 Transcript of Tim L. Wilson
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   1     work?
   2     A.        No.
   3     Q.        Were you ever disciplined by the Miami
   4     Township Police Department?
   5     A.        Yes.
   6     Q.        For what?
   7     A.        We had a -- there was a KKK rally in Dayton,
   8     Ohio.    I was a supervisor for a squad of officers to
   9     protect and block off a certain area.              One of the
   10    officers came up behind me with a nightstick and
   11    wrapped me over the head.          I told him to stop.
   12                     He did it, I believe, two more times, and
   13    on the third time he did it, he approached me from
   14    the side, and we were in an area with protesters and
   15    I thought it was a protester and I struck the
   16    officer, and I received a day off on disciplinary
   17    action, and so did he.
   18    Q.        Any other times you were disciplined by the
   19    Miami Township Police Department?
   20    A.        Not that I recall.
   21    Q.        What did you do to prepare for your
   22    deposition today?
   23    A.        Looked over a few depositions, read those.
   24    They were sent to me by my attorney.
   25    Q.        And which depositions did you read?

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                                  Transcript of Tim L. Wilson
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   1      A.        I read Scott Moore's, Rick Wolfe.            I glanced
   2      over a couple other employees from General Motors
   3      that I don't recall their names.            I don't know them.
   4      I think that was all I saw.
   5      Q.        All right.     Was one of the employees David
   6      Burke?    Does that sound familiar?
   7      A.        Yes.
   8      Q.        Was one of the GM employees, was that Keith
   9      Stapleton?
   10     A.        Yes.
   11     Q.        Did you know Mr. Stapleton?
   12     A.        No.
   13     Q.        Anything jump out at you when you read the
   14     deposition of Mr. Moore?
   15     A.        Well, refresh my memory on -- or it just told
   16     me a story, but I don't know about the word "jumped
   17     out" to me.
   18     Q.        Was there anything that you saw in the
   19     deposition transcript for Mr. Moore that struck you
   20     as contrary to what your memory was?
   21                      MR. KASSON:    Objection.     If you can
   22     remember everything that was said, you can go ahead
   23     and answer.
   24                      THE WITNESS:    I don't -- are you saying
   25     everything -- do I remember everything that happened

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                                  Transcript of Tim L. Wilson
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   1      back in '90- --
   2                      MR. OWENS:     No.
   3                      MR. KASSON:     He's asking you whether you
   4      remember everything that's said in Moore's deposition
   5      that you disputed, if you do.
   6                      THE WITNESS:     No, I do not.         I do not
   7      remember everything, no.
   8      BY MR. OWENS:
   9      Q.        What I'm asking you, actually, is something
   10     different, which is whether or not anything, that as
   11     you were reading the deposition, stuck out to you
   12     that you disagreed with?
   13     A.        No.
   14     Q.        Do you agree with anything -- there was
   15     nothing sitting here today that you can recall
   16     disagreeing with when you read Mr. Moore's
   17     deposition?
   18     A.        Truthfully, to answer that question, I'd have
   19     to sit here and read it again.           It's been probably a
   20     day or two since I read it.          So I don't want to get
   21     trapped here and say one thing and have to change my
   22     mind.
   23     Q.        Right.    And what I'm asking you for is the
   24     basis of your memory.         I know you don't have the
   25     document in front of you.

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                                  Transcript of Tim L. Wilson
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   1                       How long ago did you read the deposition
   2      transcript?
   3      A.        Probably about three days ago.
   4      Q.        Okay.     And so what I'm wondering is, can you
   5      tell me what you can recall from reading that three
   6      days ago, whether or not there was anything that you
   7      can recall that you disagreed with?
   8                       MR. KASSON:    Again, objection.        Asked and
   9      answered.     You can answer it again.
   10                      THE WITNESS:    No.    I can't say that I
   11     openly disagree with anything specific, no.
   12     BY MR. OWENS:
   13     Q.        Okay.     Was there anything that you read that
   14     you thought Mr. Moore said was untrue?
   15     A.        Not that I recall, no.
   16     Q.        Was there anything that you read in
   17     Mr. Moore's deposition that you can recall that
   18     conflicted with your memory of how things worked in
   19     Miami Township during the period of time in which the
   20     Wise sisters' rapes were being investigated?
   21     A.        It seemed like it was pretty much accurate.
   22     Q.        Now, you read the deposition testimony of
   23     Mr. Wolfe as well, correct?
   24     A.        Yes.
   25     Q.        And did you know Mr. Wolfe at the time of the

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                                  Transcript of Tim L. Wilson
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   1      Wise sisters' rape investigation?
   2      A.        I did.
   3      Q.        And how did you know Mr. Wolfe?
   4      A.        I knew Mr. Wolfe just from being a part-time
   5      reserve police officer at Miami Township.
   6      Q.        Were you in the Miami Township Police
   7      Department when he was there?
   8      A.        As a part-time officer, yes.           Actually, not
   9      even as a part-time; as a reserve voluntary officer,
   10     yes.
   11     Q.        You were a reserve or he was a reserve?
   12     A.        We both were.
   13     Q.        And then you later became full time?
   14                    (An off-the-record discussion was held.)
   15                    MR. DOWD:     I think the question was
   16     whether there was anything that's conflicted with his
   17     memory of how things operated in Miami Township at
   18     the time of the Wise sisters' rapes, and then it cut
   19     out.
   20                    MR. OWENS:      Okay.    I asked about whether
   21     or not there was anything -- those same sorts of
   22     questions with respect to Mr. Wolfe, and getting some
   23     background information about his memory of and
   24     relationship with Rick Wolfe, and I was just about to
   25     ask the same series of questions about Mr. Wolfe's

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   1      dep, now that we have established that they knew each
   2      other from being reserves officers.
   3                     MR. DOWD:     Okay.    Let me just back up.
   4      In answer to the question whether he recalled
   5      anything that conflicted with his memory of how
   6      things operated in Miami Township at the time of the
   7      Wise rapes, we didn't hear it.           What was the answer
   8      to that question?
   9                     MR. OWENS:      The answer is "no."
   10                    MR. DOWD:     Okay.    All right.       Thank you.
   11     BY MR. OWENS:
   12     Q.        So you were a reserve officer of Miami
   13     Township at the same time Rick Wolfe was?
   14     A.        I have to think about this, because I was
   15     there and gone several times.           I believe I was just
   16     prior to being drafted into the military in 1972.                 I
   17     think Rick was a reserve officer then, so I knew him,
   18     did not know him well.
   19                    And I think he stayed there when I went
   20     into the military.       And when I came back in '75, I
   21     think he was still there.
   22     Q.        After you came back to Miami Township in
   23     1975, how long did you stay with the department?
   24     A.        I did not.     After returning back from Korea,
   25     I immediately went to Warren County Sheriff's Office

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                                  Transcript of Tim L. Wilson
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   1      in 1975.
   2      Q.         How long were you at Warren County Sheriff's
   3      Office?
   4      A.         '75 until '86.
   5      Q.         And then where did you go in 1986?
   6      A.         I went to Montgomery County, Ohio, courtroom
   7      security detail as a supervisor.
   8      Q.         How long were you working at Montgomery
   9      county as a courtroom supervisor?
   10     A.         For about two years, until 1988.
   11     Q.         Where did you go in 1988?
   12     A.         In 1988, I was hired at the Montgomery
   13     County, Ohio, prosecutor's office as a prosecutor's
   14     investigator; welfare, theft, and fraud.
   15     Q.         What were your duties as a welfare, theft,
   16     and fraud investigator for the Montgomery County
   17     prosecutor's office in 1988?
   18     A.         I received case reports or complaints from my
   19     supervisor, and it was my duty to investigate people
   20     that were on welfare, receiving benefits through
   21     Montgomery County in the state of Ohio, cheaters of
   22     welfare funds.      It was my duty to investigate and
   23     bring to -- bring the case to the prosecutor's
   24     office.
   25     Q.         Did you investigate any sexual assaults while

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   1      you were at the prosecutor's office?
   2      A.        No.
   3      Q.        Murders, any serious crimes like that?
   4      A.        No, strictly welfare, theft, and fraud.
   5      Q.        How long were you in that position?
   6      A.        Until 1989 -- I'm sorry, until 1990, June of
   7      1990.
   8      Q.        So what happened in June of 1990?
   9      A.        I believe it was right on my birthday, June
   10     15 of 1990, I received a call from Captain Scothorn
   11     of the Miami Township Police Department asking if I
   12     was interested in a detective sergeant's position at
   13     the police department.
   14                     We entered into negotiations, and right
   15     around that date I was hired to go to Miami Township
   16     Police Department as a detective sergeant.
   17     Q.        What did the negotiations involve?
   18     A.        We just talked about pay.          We talked about
   19     hours.    We talked about company cars, retirement
   20     system, that type thing.
   21     Q.        Okay.     And so what were you hired on to do
   22     specifically?
   23     A.        Run internal affairs at the Miami Township
   24     Police Department -- excuse me, the "run" word is not
   25     right.    It is to investigate internal affairs under

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   1      the supervision of Captain Marvin Scothorn and to be
   2      the sergeant of the detective section.
   3      Q.        So you sort of had two multiple roles there;
   4      is that right?
   5      A.        Yes, sir.
   6      Q.        Okay.     Tell me first about what your duties
   7      were from the internal affairs side of things.
   8      A.        I would be assigned a case generally from
   9      Captain Scothorn or Chief Tom Angel concerning any
   10     kind of allegations against any of our officers,
   11     misconduct, criminal cases, civil -- not civil, but
   12     internal cases, and I would investigate them and
   13     report back to the captain.
   14     Q.        Were there any written general orders or
   15     special orders governing how internal affairs
   16     investigations worked in 1989?
   17     A.        1990.
   18     Q.        Excuse me, yeah, June of 1990.           Got it.
   19     A.        We had a standard operating procedure
   20     booklet, pamphlet.
   21     Q.        And were you, as the internal affairs
   22     supervisor, did you have somebody below you who did
   23     the investigation, or did you do the investigation
   24     yourself?
   25     A.        I did.

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   1      Q.        And then you would report that up the chair
   2      to the captain and the chief?
   3      A.        Yes.
   4      Q.        And the chief at the time in 1990 was Tom
   5      Angel?
   6      A.        Yes.
   7      Q.        And the captain was Marvin Scothorn?
   8      A.        Scothorn.
   9      Q.        Scothorn, excuse me.
   10     A.        Yes, sir.
   11     Q.        And Captain Scothorn is the one who hired
   12     you, correct?
   13     A.        Well, the chief of police actually hired me.
   14     Captain Scothorn, I guess, kind of reached out to me.
   15     Q.        Did you know Captain Scothorn from -- how did
   16     you know him?
   17     A.        We had been personal friends and associated
   18     on and off with Miami Township Police Department for
   19     50 years.
   20     Q.        When did you first meet Captain Scothorn?
   21     A.        It was either 1968 or 1969, we were both in
   22     high school.      Chief Edward Ward of the Miami Township
   23     Police Department put out an advertisement for police
   24     cadets, and I applied with the department as a police
   25     cadet, and so did Marvin Scothorn, and that's when we

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   1      first met.
   2      Q.         You met as police cadets?
   3      A.         Yes, sir.
   4      Q.         You didn't meet at high school?
   5      A.         No, sir.
   6      Q.         All right.     But you were both about high
   7      school age?
   8      A.         We were high school.
   9      Q.         Do you keep up with Mr. Scothorn now?
   10     A.         I do.
   11     Q.         So was Mr. Scothorn reserve officer in Miami
   12     Township when you were?
   13     A.         Yes.
   14     Q.         Now, June of 1990, did Mr. Scothorn tell you
   15     why he was calling you about this position?
   16     A.         Yes.
   17     Q.         What was that?
   18     A.         He said that Steve Fritz had tendered his
   19     resignation, and that he thought I would be a good
   20     fit to come in, to come back to Miami Township to
   21     take over the detective section and internal affairs
   22     for him.
   23     Q.         Anything else you can remember that he told
   24     you about Steve Fritz leaving the department?
   25     A.         Yes.

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   1      Q.        What's that?
   2      A.        He said that Steve Fritz was a disgruntled
   3      employee.       I do not know exactly why he was
   4      disgruntled.       I don't even remember if Captain
   5      Scothorn told me.       He said that he had walked in and
   6      tendered his resignation, and came back a few days
   7      later, after they had contacted me, came back into
   8      the office and said, "I want" -- "I change my mind,
   9      I'm not leaving."       And they said, "Yes, you are.           We
   10     have replaced you."
   11     Q.        Were you there when that happened?
   12     A.        No.
   13     Q.        That's just what somebody told you?
   14     A.        That's what Captain Scothorn told me.
   15     Q.        Did you ever overlap with Steve Fritz in the
   16     department?
   17     A.        No.
   18     Q.        Anything else you can recall about why
   19     Mr. Scothorn told you that they needed to fill the
   20     position?
   21     A.        Said they had given some thought to
   22     internally filling the position, and they thought an
   23     outsider was more appropriate.
   24     Q.        Okay.     Did he say why?
   25     A.        No, I don't think so.

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                                   Transcript of Tim L. Wilson
                                 Conducted on December 18, 2018                 20

   1      Q.         All right.     So one aspect of your job when
   2      you first joined the department was to do internal
   3      affairs, correct?
   4      A.         Yes.
   5      Q.         The other side of the coin, as it were, was
   6      to be the sergeant for the detective division,
   7      correct?
   8      A.         Yes.
   9      Q.         And what were your duties as the sergeant for
   10     the detective division in 1990?
   11     A.         Overall supervision of about -- I think we
   12     had about five detectives, detectives that were
   13     assigned cases, anything from serious misdemeanors to
   14     homicides.        We had a drug undercover investigator; I
   15     would supervise him.         Generally assign reports to
   16     detectives to investigate, and offer assistance to
   17     them and supervision whenever they needed it.
   18     Q.         Now, at the time, you said there were about
   19     five detectives.        Do you recall any of the detectives
   20     who were there that you directly supervised when you
   21     joined the department?
   22     A.         Yes.
   23     Q.         What's that?
   24     A.         There was --
   25     Q.         Or, excuse me, who is that?

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                                  Transcript of Tim L. Wilson
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   1      A.        There was Detective Walter Nock, who is
   2      deceased, drug --
   3      Q.        Can you spell Nock for me?
   4      A.        It was N-O-C-K.
   5      Q.        And did you say he was a drug investigator?
   6      A.        Drug investigator, yes, sir.
   7      Q.        Who else?
   8      A.        There was Michael Carr, C-A-R-R.             There was
   9      Scott Moore.      There was John DiPietro.         Myself.     I
   10     think that was it at the time, when I first got
   11     there.
   12     Q.        Okay.     Did any more -- were there any
   13     additional detectives added within the first couple
   14     years you were there, so say between when you arrived
   15     in June of 1990 and the end of 1992, those first 18
   16     months?
   17     A.        I don't think there was any added.             There may
   18     have been transfers in and out of detective section,
   19     promotions.
   20     Q.        Anything that you can -- any person that you
   21     can recall?
   22     A.        At those two years?
   23     Q.        Yes, sir.
   24     A.        Those first two years?         I really don't
   25     remember exactly the dates of the transfers, but I'm

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                                   Transcript of Tim L. Wilson
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   1      thinking that that staff that I named to you was
   2      pretty much it for the first couple years.
   3      Q.         Okay.     And now what were your duties in
   4      relationship to supervising these detectives when
   5      they were working on ongoing investigations?
   6      A.         When they were working an ongoing
   7      investigation?
   8      Q.         Yes, sir.
   9      A.         As I said, first of all, I considered myself
   10     not a micro manager.         I didn't look over their
   11     shoulder constantly.         They were all fairly
   12     experienced officers promoted into the detective
   13     section.     They had all, I believe, handled some
   14     pretty significant cases in the past.
   15                    My daily duties were just to observe, to
   16     be there for them.        If they needed assistance or they
   17     needed help on a case, I would assign additional help
   18     to them.     Ensure that their cases was wrapped up, so
   19     to say, presented to the prosecutor's office, you
   20     know, in as timely as could be.            To assist them if
   21     they requested any assistance for search warrants.
   22     Just generally being there, being there for them.
   23     Assigning cases to them.          If they submitted reports,
   24     I'd review the reports, document the reports to
   25     records or whoever.

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                  23

   1      Q.        Anything else you can recall?
   2      A.        That was about it.
   3      Q.        All right.     You mentioned that you would
   4      review reports?
   5      A.        Yes.
   6      Q.        What was that process like?          And at the
   7      time -- I just want to be really clear so that we are
   8      on the same page.
   9                       I'm talking about between June of 1990,
   10     for about a year or year and a half after, until the
   11     beginning of 1992.
   12     A.        If I recall, that was about the time period
   13     that they switched from handwritten reports to
   14     computerized generized [sic] reports.
   15                      The detectives would open up the main
   16     case file or case report in the computer that they
   17     had been assigned, and they would do a supplemental
   18     report as the investigation was ongoing.
   19                      And they would either -- once finished
   20     with that supplemental report, they would either, or
   21     both, save it in the computer and/or print it out if
   22     they were pretty much finished with it.
   23                      Once I received a printed copy of that
   24     report, I'd look at it, review it, make suggestions,
   25     sometimes talk to the detectives about it if need be,

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                  24

   1      sometimes not, and generate or send that report to
   2      the records section for filing.
   3      Q.        And when the reports were computerized, the
   4      case reports, would you review them along the way or
   5      just at the end of the investigation?
   6      A.        Generally at the end -- not generally.
   7      Mostly at the end.
   8      Q.        And what circumstances would you not
   9      review -- strike that.
   10                    In what circumstances would you review
   11     supplementary case reports before the end of the
   12     investigation?
   13     A.        Actually, I would have to say I don't
   14     remember a specific incident of opening up a computer
   15     to get into a detective's case file to look at it, so
   16     I would have to say it was mostly at the end of the
   17     case.
   18     Q.        And just to be clear about your testimony,
   19     you can't recall ever having gone in before the case
   20     was closed on a digital case file; is that correct?
   21     A.        Maybe if I had a supplement that I did, that
   22     needed documented, maybe I would open up that file,
   23     do the supplement, follow the same procedure, get it
   24     to records.     But to go in to say, I want to check on
   25     Detective X's report, I don't recall ever doing that.

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                  25

   1      Q.        Great.     And I want to hand you what's been
   2      previously marked as Deposition Exhibit 6 from
   3      Officer Gray's deposition, and I'm just going to
   4      start at the third page.
   5                       Sir, do you recognize that?
   6                       MR. KASSON:     So what I want you to do
   7      first, before he directs you to the page, I want you
   8      to look at the document starting with page 1.               You
   9      don't have to read the whole thing, but I want you to
   10     look at the entire document to familiarize yourself.
   11                      MR. OWENS:     It's totally inappropriate
   12     for you to direct the witness during this deposition.
   13                      MR. KASSON:     There's nothing wrong with
   14     me telling him to look at the entire document before
   15     he answers questions.          It's done all the time.
   16                      MR. OWENS:     It's never done.       I mean, I'm
   17     not trying to be obstructive or anything like that,
   18     but I don't appreciate instructions to a witness
   19     during a deposition.
   20     BY MR. OWENS:
   21     Q.        Sir?
   22     A.        Yes.
   23     Q.        If your attorney has some additional
   24     questions that he wants to ask you based upon this
   25     document, when I'm done, he can.            I'm going to move

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                  26

   1      on, okay?
   2                     MR. KASSON:      Well, he's going to get a
   3      chance to look at the document before he's questioned
   4      on it.
   5                     MR. OWENS:      I mean, you are interrupting
   6      me.   I wanted to ask him a question.            There's no
   7      reason for you to interrupt me right now.              I mean,
   8      you can ask him what you want to when it's your
   9      chance.
   10                    MR. KASSON:      I'm telling him not to
   11     answer until he gets a chance to look at the
   12     document.
   13                    MR. OWENS:      There's not even a question
   14     pending.    You are just instructing him to do things
   15     during the deposition that's completely
   16     inappropriate.
   17                    If we were at trial and he was on the
   18     stand, you wouldn't get up there and say, hey, look
   19     at the whole thing, would you?
   20                    MR. KASSON:      For 27 years witnesses have
   21     been able to look at documents before they get to
   22     answer.
   23                    MR. OWENS:      I have no problem with that.
   24     I have a problem with you directing him to do so
   25     during the deposition.

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                                   Transcript of Tim L. Wilson
                                 Conducted on December 18, 2018                 27

   1                     MR. KASSON:       Well, he's going to look at
   2      it before he answers, so he knows.
   3                     MR. OWENS:      This is completely
   4      objectionable.        It's completely inappropriate.          It's
   5      no different than you saying, hey, answer this way,
   6      in my mind.
   7                     MR. KASSON:       Are you trying to trick him
   8      or something?
   9                     MR. OWENS:      No.
   10                    MR. KASSON:       Then let him look at it.
   11     What's the matter?
   12                    MR. OWENS:      I wanted to ask him a really
   13     simple question about the format of the document, and
   14     now he's sitting here for five minutes wasting my
   15     time.     It's my questioning.
   16                    MR. KASSON:       Sure.    Are you ready?
   17                    THE WITNESS:       May I have just another
   18     minute to look this over?
   19                    MR. OWENS:      You can take as much time as
   20     you want.
   21                    THE WITNESS:       Thank you, sir.
   22                    I've familiarized myself.           I did not read
   23     it.     Your question?
   24     BY MR. OWENS:
   25     Q.         Sure.     Did you review that before your

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                                   Transcript of Tim L. Wilson
                                 Conducted on December 18, 2018                 28

   1      deposition today?
   2      A.         No, sir.
   3      Q.         Did you review any documents before your
   4      deposition today, outside of the deposition
   5      transcripts that you described earlier?
   6      A.         Today?
   7      Q.         Did you review any other documents -- or
   8      strike that.
   9                       Did you review any documents at all
   10     outside of the deposition transcripts to prepare for
   11     your deposition today?
   12     A.         No.
   13     Q.         No police reports?
   14     A.         No.
   15     Q.         No supplementary reports?
   16     A.         I don't have any.
   17     Q.         Okay.     Did you review any documents from
   18     Miami Township that had the Miami Township -- were on
   19     Miami Township letterhead?
   20     A.         No.
   21     Q.         Did you review any photographic ID or lineup
   22     reports?
   23     A.         No.
   24     Q.         Now, the document that you familiarized
   25     yourself with, Exhibit 6, from Gray's deposition, is

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                  29

   1      this the type of forms that supplementary reports
   2      would take when they were done in the computer by the
   3      detectives in 1990 and 1991?
   4      A.        Is it a type of format, is that your
   5      question?
   6      Q.        Yes, sir.
   7      A.        Yes, it is.
   8      Q.        Was there a standardization for the format,
   9      or how did that work?
   10     A.        There was -- to my knowledge, there was no
   11     written standardization.         No SOP.
   12     Q.        Sure.
   13     A.        I think this was a common practice that this
   14     is the way things worked in a computer when you were
   15     working with the report.
   16     Q.        Got it.
   17                    I know that computers have come a long
   18     way since 1990.       Do you remember whether or not the
   19     program was essentially like a Word document or some
   20     kind of continuous file, or what the setup was in
   21     1990 and 1991?
   22     A.        I don't know, sir.
   23     Q.        Was it something that where a detective would
   24     have a particular folder or were there separate --
   25     was there a template of any sort?

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                  30

   1      A.        All I know is they got into the computer,
   2      opened up the case file and started their work.
   3      Q.        Okay.     And do you know whether or not at the
   4      time in 1990 and 1991 that edits could be made to the
   5      entire document once things were put in?
   6      A.        I would assume someone could edit.
   7      Q.        Yeah.
   8      A.        Prior to it being printed off, I would
   9      assume, yes.
   10     Q.        And once it was printed off, it was your duty
   11     to review it?
   12     A.        If I was there and received a report, yes.
   13     Q.        Who else would -- strike that.
   14                      Would there be anybody else who might be
   15     there or responsible to review a report if you
   16     weren't there at the time?
   17     A.        Yes.
   18     Q.        Who is that?
   19     A.        It could have been Corporal Bob Burling.
   20     Q.        What was his role?
   21     A.        I think I forgot to even mention him as some
   22     of the original detectives, but Corporal Burling was
   23     there and a detective sergeant at the time.               His role
   24     was basically my assistant.          He would take over my
   25     duties in my absence.

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                  31

   1      Q.        Okay.     Fair to say that when a detective at
   2      the Miami Township Police Department submitted a
   3      report in 1990 or 1991, that it had to be reviewed by
   4      some sergeant or supervisor?
   5      A.        When they printed it out, when they were
   6      finished with their summaries or finished with the
   7      investigation and it crossed our desk, yes.
   8      Q.        I guess what I'm wondering is, as a matter of
   9      policy and practice at the time, did detectives have
   10     to submit every report to a supervisor?
   11     A.        I would say yes.
   12     Q.        Now, other than the depositions you read, did
   13     you do anything else to prepare for your deposition
   14     today?
   15                    MR. DOWD:     David, I didn't hear that
   16     question, please.
   17                    MR. OWENS:      I said, other than the
   18     depositions that we previously discussed, was there
   19     anything that you did to prepare for your deposition
   20     today.
   21                    MR. DOWD:     All right.      Thanks.     I just
   22     didn't hear it, I apologize.
   23                    MR. OWENS:      Okay.
   24                    THE WITNESS:      I just arrived here.
   25     ///

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                  32

   1      BY MR. OWENS:
   2      Q.        Well, thank you for that.
   3      A.        Yes, sir.     You are welcome.
   4      Q.        Did you have any conversations with your
   5      attorneys about the deposition today?
   6                       MR. KASSON:    Objection.     Don't answer
   7      that.    I think you can ask whether he had a
   8      conversation with me, and the minute you say anything
   9      about the deposition, you are intruding into what was
   10     discussed, right, so --
   11     BY MR. OWENS:
   12     Q.        So did you have any meetings with your
   13     attorneys in advance of your deposition today?
   14     A.        Not today, no.
   15     Q.        Did you have any attorneys at -- excuse me.
   16                      Did you have any meetings at any time
   17     with your attorneys in advance of your deposition
   18     today?
   19     A.        Yes.
   20     Q.        And how long was the most recent meeting?
   21     A.        Yesterday.
   22     Q.        And how long was the meeting?
   23     A.        Two hours, max, I think.
   24     Q.        And was anybody else present at the meeting
   25     other than you or your attorneys?

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                                  Transcript of Tim L. Wilson
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   1      A.        No.
   2      Q.        And have you had any conversations with any
   3      of the other named defendants in this lawsuit about
   4      the lawsuit?
   5      A.        Today?
   6      Q.        No, at any point.
   7      A.        Yes.
   8      Q.        All right.     Who have you spoken with?
   9      A.        I've spoken with my -- you said "defendants."
   10     I've spoken with Steve Gray and Marvin Scott.
   11     Q.        Have you spoken with anybody else from the
   12     Miami Township Police Department about this lawsuit?
   13     A.        No.
   14     Q.        Have you spoken with any witnesses in this
   15     case about the lawsuit?
   16     A.        No.
   17     Q.        Have you -- outside of your attorneys,
   18     Mr. Scothorn and Mr. Gray, who have you spoken with
   19     about this lawsuit?
   20     A.        My wife.
   21     Q.        What did you tell your wife?
   22     A.        Of course, she was curious about what it was
   23     all about.       And I basically told her that this rape
   24     case had occurred prior to me arriving at Miami
   25     Township.       Was assigned to Scott Moore by an

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                    34

   1      authority other than me to investigate.                He
   2      investigated.      It went to trial twice.
   3                     The man was convicted twice.             Sent to
   4      prison, got out someway or another 20 years later.
   5      And found some attorneys to file a lawsuit for
   6      allegedly a conspiracy of trying to set him up and
   7      frame him.
   8      Q.        All right.     Sorry.
   9      A.        That was it.
   10     Q.        I didn't mean to interrupt you.              So it's
   11     sometimes like in the course of normal conversation
   12     when you think somebody is done, you might start in,
   13     so let me give you some space.
   14                    Were you finished with your answer?
   15     A.        I was just going to say, so she wanted to
   16     naturally ask, "Did you do anything wrong?                  Are we in
   17     jeopardy, or what?"
   18                    And I just told her, I said, "We have
   19     good counsel representing us."           And, "No, I didn't do
   20     anything wrong."
   21     Q.        All right.     What did you talk about with
   22     Mr. Scothorn?
   23     A.        We talked about who actually assigned that
   24     case to Scott Moore.        He gave me his answers.            And we
   25     talked about did either one of us do anything wrong

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                  35

   1      or know of anything wrong.
   2      Q.        Who assigned the case to Scott Moore?
   3      A.        My understanding from Captain Scothorn was,
   4      after Fritz left or right at the time period that --
   5      let me back up.
   6                       Right at the time period he left, Captain
   7      Scothorn's words were, "The chief and I decided to
   8      put fresh eyes on this investigation."             And it was
   9      assigned to Scott Moore for investigation prior to me
   10     getting to Miami Township.
   11     Q.        And that's what Captain Scothorn told you?
   12     A.        Yes.
   13     Q.        And when was that?
   14     A.        Probably back in the summer.           I don't have an
   15     exact date.
   16     Q.        Last summer?
   17     A.        Yes, this past summer.
   18     Q.        And anything else that -- strike that.
   19                      What else did you speak with Captain
   20     Scothorn about relative to this case over the summer?
   21     A.        General conversation was -- I guess we had
   22     been accused of an ongoing conspiracy to frame Roger
   23     Gillispie.
   24                      And we both commented, "Hell, we don't
   25     even know Roger Gillispie.          We have no reason to

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                  36

   1      frame Roger Gillispie."
   2                       I told Scothorn I didn't do anything
   3      wrong, didn't know of anybody that did anything
   4      wrong.    It looked like the case was handled well to
   5      me and investigated well and prosecuted well.
   6                       And his response was basically the same
   7      thing, and that's about it.
   8      Q.        Anything else you can recall about his
   9      response?
   10     A.        Yes.     He said -- we both said we wonder why
   11     Gary Williams is not named in this somewhere along
   12     the line, because Gary Williams was my immediate
   13     supervisor for the detective section and he worked
   14     underneath Captain Scothorn.
   15                      So we kind of thought that for the
   16     first -- sometime in this investigation that Scott
   17     Moore probably answered to Gary Williams just before
   18     I got there or right after I got there in Miami
   19     Township, but neither one of us really know if that's
   20     true or not.       Certainly, I don't know if it's true.
   21     And Scothorn said he just couldn't remember who Moore
   22     was reporting to.
   23     Q.        Do you have any independent memory of Scott
   24     Moore working on the Wise sisters' rape or this
   25     prosecution?

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                                  Transcript of Tim L. Wilson
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   1      A.        It's very vague to me.
   2      Q.        Okay.     What's the vague memory that you have
   3      sitting here today?
   4      A.        Well, vaguely, what is vague is I don't
   5      remember Detective Moore investigating or interacting
   6      with the alleged victims or the victims in this case.
   7      I don't remember any sit-down interviews or
   8      recordings, in-person lineups or photo lineups that
   9      he may have presented to the victims.             I don't -- I
   10     have no knowledge of that, that I can recall, or
   11     search warrants.
   12                    Really, I don't remember anything -- or,
   13     I don't remember having any real knowledge of the
   14     case for the first, I don't know, at least weeks,
   15     maybe a couple months, that I was even there.               I just
   16     don't remember knowing that he had prior cases.
   17                    The thing I do remember is he showed me a
   18     photograph of Roger Gillispie.           And that's, in my
   19     mind from 20 years ago, that's the first thing I can
   20     really recall.
   21     Q.        All right.     Do you remember what the
   22     circumstances were when he showed you that
   23     photograph?
   24     A.        I just remember of the discussion of the case
   25     being -- I think being prepared for trial, or at

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   1      least being sent to the prosecutor's office.               And I
   2      remember saying, "Who is this Roger Gillispie?
   3      What's he look like?"         And I was showed a photograph.
   4      Q.        Is that from an identification badge from
   5      General Motors?
   6      A.        I do not remember the structure of the
   7      photograph.      I just remember a photograph.
   8      Q.        Do you know if it was a Polaroid?
   9      A.        I do not recall.
   10     Q.        Did you directly oversee Scott Moore in his
   11     preparation of any photographic lineups?
   12     A.        No.
   13     Q.        And what was your process for reviewing
   14     lineup identification procedures by detectives in
   15     1990, 1991?
   16                     MR. KASSON:     Objection to the form.         It
   17     assumes there was a process.
   18                     Go ahead, answer.
   19                     MR. OWENS:     No, let me fix the objection.
   20     BY MR. OWENS:
   21     Q.        Was there a process for reviewing
   22     identification procedures by your detectives in 1990
   23     and 1991?
   24     A.        At the time, I do not recall a written SOP or
   25     standard operating procedure, as far as a written

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   1      documentation of that.         What I do recall is the
   2      officer -- the detectives constructing the photo
   3      lineup from a multitude of available photographs or
   4      mug shots at the police department.            That was the
   5      primary source of the photograph.
   6                     They would arrange an array, sometimes --
   7      if I recall, six, maybe eight photographs.               I'm sure
   8      nothing less than six, probably no more than eight,
   9      for one suspect on one incident.
   10                    They would concentrate on having
   11     photographs of the suspect being like and similar.
   12     They would pay special interest, obviously, to race,
   13     to the physical structure, facial hair structure.
   14     Just try to get photographs of somebody that's as
   15     close as they can to the suspect, put it in an
   16     organized chart or bundle, and present it separately
   17     to the victim or victims individually.
   18                    They may have them -- without trying to
   19     prejudice the identification that might be made by
   20     the victim, they would not refer to names and that
   21     type of thing.      They would just simply say, "Look at
   22     it.   Do you see anybody that looks familiar that may
   23     have assaulted," or whatever the case may be.
   24                    If they identified that person, they may
   25     have the victim sign their name on that particular

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   1      photograph, date it and the time, and present that
   2      information to the prosecutor's office somewhere
   3      along the line.
   4      Q.        Now, were there any -- now, what was the
   5      review of any of those practices that you would do as
   6      a sergeant?
   7      A.        Really, nothing, unless the officer or the
   8      detective came to me and needed assistance in
   9      constructing it or presenting it.
   10     Q.        Now, you mentioned a couple minutes ago that
   11     there was some kind of photo databases that used --
   12     excuse me.       Strike that.
   13                      You mentioned a moment ago that there was
   14     photo databases that detectives could use to generate
   15     the photo arrays.       Do you recall that?
   16     A.        Yes.
   17     Q.        And what were those photo databases that were
   18     available in 1990 and 1991?
   19     A.        During that time period, the best I can
   20     recall, was just a photo album-type things, mug shot
   21     books that we housed in the detective section from
   22     people who had been arrested in the past, or what we
   23     called a field interrogation; somebody that's acting
   24     suspicious, there was reason for us to be there, for
   25     the patrol officer to be there.           The patrol officer

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   1      may take a Polaroid and do what was called a memo
   2      card, just a brief card saying that on such a date, I
   3      saw John Doe.        John Doe was acting suspicious, had no
   4      identification.        We took a photograph.
   5                        That's it.   We would house that at the
   6      detective section.        Detectives would have access to
   7      those photo books or mug books.
   8      Q.         And those would include Polaroid pictures,
   9      correct?
   10     A.         Yes, they would include Polaroid.
   11     Q.         And they would include sort of mug shots,
   12     booking shots; is that correct?
   13     A.         Not everybody's mug shot was kept there, but
   14     some of them.        I don't know what the reasons would
   15     have been, I don't remember, but, yes, some had mug
   16     shots.
   17     Q.         Now, under what circumstances were police
   18     officers used for photographs to go in six packs?
   19     A.         Under what circumstances?
   20     Q.         Yes.
   21     A.         Police officers?
   22     Q.         Yes.
   23     A.         Well, if they are in uniform, none, unless
   24     it's a uniformed officer that's a suspect.
   25     Q.         What about if they are out of uniform, would

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                                  Transcript of Tim L. Wilson
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   1      it be appropriate in 1990 and 1991 for a detective to
   2      use pictures of police officers in a photographic
   3      lineup?
   4      A.        If a police officer -- first of all, let me
   5      back up to say I would hesitate doing that, because
   6      that officer might have been seen out on the street.
   7                     But, under certain circumstances if
   8      that -- if that police officer was like and similar
   9      in age and physical structure of the person and
   10     looked like and similar to that person, I don't know
   11     that it would be that big of a deal; it could be
   12     used.
   13     Q.        Any other hesitations that you would have in
   14     putting police officers in a photographic lineup?
   15     A.        You certainly wouldn't want to put a
   16     detective or police officer that's undercover in a
   17     photo lineup, but just for a general police officer,
   18     I don't think it was ever common practice, but it's
   19     possible.
   20     Q.        Are you aware of any time that you were
   21     included in a photographic lineup?
   22     A.        I don't remember being involved.
   23     Q.        Would you be surprised to find out that you
   24     were included in a photographic lineup?
   25     A.        No, because I've heard that I was in this

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                                  Transcript of Tim L. Wilson
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   1      photo lineup.       I wouldn't be surprised today.          But
   2      when I learned that, yes, I was surprised.
   3      Q.        Okay.     When did you learn that?
   4      A.        I honestly don't remember when it was or how
   5      I learned of it.
   6      Q.        Okay.     Did you learn that from a conversation
   7      that you had with Mr. Scothorn?
   8      A.        No.
   9      Q.        Did you learn that from reading Mr. Moore's
   10     deposition?
   11     A.        It might have been -- might have been
   12     Mr. Moore's -- Detective Moore's deposition.
   13     Q.        Okay.     Do you remember reading me where I
   14     asked him a bunch of questions about including police
   15     officers in the photo array?          Does that strike you --
   16     sound familiar?
   17     A.        Yes.
   18     Q.        So is it fair to say that, before you read
   19     that, you didn't know that you had been included in
   20     the lineup?
   21     A.        I don't remember being included in the
   22     lineup.
   23     Q.        Okay.     Now, I just want to be really clear
   24     about the way in which your supervision of Detective
   25     Moore would have worked in 1990.

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                                  Transcript of Tim L. Wilson
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   1                       And for the photographic lineup, it would
   2      have been consistent with the practices of the
   3      department, as you understood them, for him to create
   4      the lineup without showing it to you before he showed
   5      it to the victims, correct?
   6      A.        Would it be consistent?
   7      Q.        Was it the practices of the department for
   8      Detective Moore to have made the lineup and then
   9      shown it to the victims without having any other
   10     officer review it?
   11     A.        Yes.
   12                      MR. KASSON:    Objection.     Form.
   13     BY MR. OWENS:
   14     Q.        And it would have been consistent with the
   15     practices of the department for Officer -- excuse me,
   16     strike that.
   17                      It would have been consistent with the
   18     practices of the department, as you understood them
   19     at the time, for Detective Moore to include police
   20     officers in the lineup, correct?
   21     A.        So before I answer I'd like to make sure I'm
   22     clear on that.       Could you repeat it, please?
   23     Q.        Yeah.     Let me just ask it slightly
   24     differently.
   25                      In 1990, it would not have violated any

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                                  Transcript of Tim L. Wilson
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   1      practice or rule of the department for Detective
   2      Moore to include police officers in the photographic
   3      lineup, correct?
   4      A.        Yes.
   5      Q.        And are you aware of any circumstances in
   6      which Miami Township detectives used the Miami Valley
   7      Regional Crime Lab to create pictures to be used in a
   8      photographic lineup?
   9      A.        Am I aware?
   10     Q.        Yes.
   11     A.        I am not.
   12     Q.        Is that something that you ever specifically
   13     recall approving?
   14     A.        I never did.
   15     Q.        So I guess I just want to be a little bit
   16     clear.    As a supervisor for Detective Moore over the
   17     Wise rape investigation, you would have reviewed the
   18     supplementary reports that were typed up, correct?
   19                      MR. KASSON:    Objection.
   20                      THE WITNESS:    For Detective --
   21                      MR. KASSON:    Asked and answered.
   22                      You can go ahead and answer again.
   23                      THE WITNESS:    For Detective Moore's rape
   24     investigation on the Gillispie case?
   25     ///

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                                   Transcript of Tim L. Wilson
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   1      BY MR. OWENS:
   2      Q.         Yes.
   3      A.         I'm not so sure that I was receiving his
   4      investigative or supplemental reports because I did
   5      not assign that case to him.           It was assigned before
   6      I got there.
   7                        I was unaware that he was working that
   8      case for a period of time that I don't remember how
   9      long it took.        He may -- he may have submitted
   10     reports to a higher authority than me, and he may not
   11     have submitted those reports at all, I don't know.
   12     Q.         But I guess I thought we were on the same
   13     page.    At the end of the case you would have reviewed
   14     the supplementary reports that were in Exhibit 6,
   15     correct?
   16                       MR. KASSON:    Objection.     He didn't
   17     testify to that.        Asked and answered.        You can answer
   18     it again.
   19                       THE WITNESS:    I'm sure at some point in
   20     time.    Definitely later on I looked at them, yes.
   21     BY MR. OWENS:
   22     Q.         Right.     I thought we established earlier,
   23     once the case is closed, you would have reviewed the
   24     reports, unless you happened to not be there and Bob
   25     Burling would have; is that correct?

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   1      A.         Yes.     But you didn't ask which case that was,
   2      I don't believe.        So cases that I assigned to
   3      Detective Moore, I expected supplemental reports.
   4      Q.         Right.
   5      A.         And I kept track of supplemental reports in
   6      the assignment book.         For the Gillispie case, I did
   7      not keep track of supplemental reports because I
   8      didn't assign it to him, and I didn't know about it
   9      for quite some time.
   10     Q.         And when you said there was an assignment
   11     book, what is that?
   12     A.         It was just a ledger, a written ledger of
   13     cases that I personally assigned to individual
   14     detectives, and would note the date, the time of
   15     assignment, the specific detective and the required
   16     supplemental date that I expected a return on his
   17     supplemental investigation.
   18     Q.         Okay.     And you didn't do any of that stuff
   19     with respect to Detective Moore in this case, because
   20     you didn't assign him the investigation; is that
   21     correct?
   22     A.         That is correct.
   23     Q.         And you can't tell me who would have been
   24     responsible for doing the direct supervision of
   25     Mr. Moore in this investigation; is that correct?

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   1                     MR. DOWD:     Objection.      Foundation.
   2      BY MR. OWENS:
   3      Q.        Go ahead.
   4                     MR. KASSON:      You can answer.
   5                     THE WITNESS:      I can only assume who it
   6      was.   I do not know for sure.
   7                     MR. KASSON:      Well, don't guess.        If you
   8      are guessing, that's --
   9                     MR. OWENS:      See, you can't do that.         You
   10     know that.
   11                    MR. KASSON:      Tell him not to guess?
   12                    MR. OWENS:      No, you can't.      You can't
   13     direct the witness on how to answer a question when
   14     the question is posed.         That's completely improper.
   15                    MR. KASSON:      Are you telling him you want
   16     him to guess?
   17                    MR. OWENS:      No.   He can answer the
   18     question.     If he needs to ask --
   19     BY MR. OWENS:
   20     Q.        Let's be clear, sir.        Today you are here
   21     represented by counsel, right?
   22     A.        Yes, sir.
   23     Q.        And you haven't given a deposition before, so
   24     let's talk about some of the ground rules, all right?
   25     A.        I have given a deposition before.

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   1      Q.         It's been a while, right?
   2      A.         Yes, sir.
   3      Q.         All right.     So I'm asking you questions under
   4      oath.     Do you understand that?
   5      A.         Yes.
   6      Q.         You understand that the oath you gave today
   7      is the same one you would have given in court,
   8      correct?
   9      A.         Yes, sir, I do.
   10     Q.         All right.     So from time to time, attorneys
   11     may object, okay?        We just had an example of that.
   12     A.         Yes, sir.
   13     Q.         And unlike being in court, there's no judge
   14     to resolve the objections, right?             And so unless the
   15     question involves an issue related to privilege, you
   16     know, whether it's an attorney/client type of a
   17     conversation, you will answer the question, and then
   18     we'll resolve whether the objection was right or
   19     wrong later in front of the judge, okay?
   20                       MR. KASSON:    Just so we are clear, when I
   21     object, you will answer it if I tell you to answer
   22     it, you won't answer it if I tell you not to answer
   23     it.     That's our rule, okay?
   24                       THE WITNESS:    I understand, sir.
   25                       MR. KASSON:    All right.     That's the rule.

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   1      BY MR. OWENS:
   2      Q.        Okay.     So the way a deposition works is just
   3      the same as other testimony.             You understand that?
   4      A.        Yes, sir.
   5      Q.        All right.        And if there's an objection from
   6      counsel about the form of the question or things like
   7      that, those are objections that we will deal with
   8      later.    That's not something that we can resolve
   9      here, unless we stop every time there's an objection
   10     and call the judge.          And you can imagine why judges
   11     wouldn't want that.
   12                      Okay.     Now, my question was whether or
   13     not you can tell me who directly supervised Scott
   14     Moore on this investigation, if it was anyone at all?
   15                      MR. KASSON:       Objection to the form.      You
   16     can answer.
   17                      THE WITNESS:       I cannot tell you with
   18     accurate, truthful firsthand knowledge exactly who it
   19     was, because I didn't know.
   20     BY MR. OWENS:
   21     Q.        Okay.     So you learned about the investigation
   22     into the Wise rape sometime after you started; is
   23     that correct?
   24     A.        Yes.
   25     Q.        And who were the other potential people that

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   1      could have been overseeing Mr. Moore on the case?
   2      A.        I would think it would be one of three
   3      people.
   4      Q.        Sure.
   5      A.        It would be Lieutenant Gary Williams, my
   6      immediate supervisor as far as detective section.                 It
   7      could have been my supervisor, Captain Marvin
   8      Scothorn; he was my supervisor over internal affairs.
   9      Or it could have been the chief of police.
   10     Q.        And that was Tom Angel at the time?
   11     A.        Yes, I'm sorry.       Tom Angel.
   12     Q.        Thank you.
   13                      Was Gary Williams in the department when
   14     you got there?
   15     A.        Yes.
   16     Q.        And was he there after you left?
   17     A.        No.
   18     Q.        All right.     How long was Mr. Williams in the
   19     role that he was in as your immediate supervisor?
   20     A.        I'm guessing, four or five years.
   21     Q.        And what was the title?
   22     A.        Lieutenant.
   23     Q.        Lieutenant.
   24                      So you were a sergeant?
   25     A.        Detective sergeant.

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   1      Q.        Detective sergeant.
   2                       And then he would have been the
   3      lieutenant or detective lieutenant?
   4      A.        Administrative lieutenant, one step above me.
   5      Q.        Okay.     And then above that would have been?
   6      A.        Captain Marvin Scothorn.
   7      Q.        Only one more left in the chain?
   8      A.        Chief Thomas Angel.
   9      Q.        Thank you.
   10     A.        Yes, sir.
   11     Q.        How long were you at the Miami Township
   12     Police Department?
   13     A.        From 1990 until September of 1998, eight
   14     years.
   15     Q.        Was there ever, from what you can recall
   16     while you were there, sort of an overhaul to the
   17     policies and SOPs or anything like that led by Chief
   18     Angel?
   19     A.        Yes.
   20     Q.        When was that?
   21     A.        I don't remember the year, sir.              It was
   22     probably, I'm guessing, 1993 or 1994; we went through
   23     accreditation.
   24     Q.        And as a part of the accreditation process,
   25     the SOPs and policies were written up and redone; is

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   1      that fair to say?
   2      A.        It is.
   3      Q.        And the Wise investigation happened before
   4      that accreditation process, correct?
   5      A.        Yes.
   6      Q.        Did you ever have any other positions in the
   7      department before you left in 1998?
   8      A.        Yes.
   9      Q.        What was that?
   10     A.        I transferred out onto the road and was a day
   11     shift road patrol supervisor as a sergeant.
   12     Q.        And do you recall roughly what years you did
   13     that?
   14     A.        I think it was in 1997, I believe.
   15     Q.        Did you retire in 1998?
   16     A.        Yes, I did.
   17     Q.        And how long have you been here in Tennessee?
   18     A.        Twenty years.
   19     Q.        So did you have any impressions of Scott
   20     Moore as a detective?
   21     A.        Yes.
   22     Q.        What was that?
   23     A.        Scott Moore, as a detective, my impression
   24     would be that he was a very thorough investigator.
   25     He was knowledgeable.        He was probably above average

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   1      as an investigator.
   2                     He was -- I've often said he's the type
   3      of investigator that if you wrote a bad check on or
   4      committed a forgery -- because that was his main
   5      responsibilities that I would assign him to -- if you
   6      wrote a bad check, you wouldn't want him on your --
   7      on your tail.      He would track you down.
   8                     He was thorough in presenting his cases
   9      to the prosecutor's office.          He was punctual.       He
   10     showed up for work.        He was -- he was not receptive
   11     to supervision very well.          He was kind of
   12     independent.      He liked to act independently.
   13                    But basically he was a good detective,
   14     and I think -- I was very proud of him the way he
   15     finalized this case and got convictions, not once,
   16     but twice.
   17     Q.        And would that be something sort of how in
   18     the department officers thought about cases; being
   19     successful means securing a conviction as a result of
   20     your investigation?
   21     A.        Repeat that to me, please.
   22     Q.        I was just trying to understand the
   23     perspective.      And I thought your testimony was that
   24     you were proud of him because he was able to get
   25     convictions, not once, but twice, in this case;

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   1      correct?
   2      A.         I think yes would be the answer.             Certainly,
   3      anytime you have a major case investigation like that
   4      where you have got multiple victims that's been
   5      harmed and you investigate and you present it to the
   6      prosecutor's office and they accept your
   7      investigation and they present it to a jury and you
   8      get a conviction once, an appeal, and you get the
   9      conviction again, yes, it's something to be proud of,
   10     and should be recognized by the police department.
   11     Q.         And was that something that was -- sort of
   12     officers in the department paid attention to, whether
   13     or not a case that you investigated, a major case,
   14     resulted in a conviction?
   15     A.         Sure.
   16     Q.         Now, I believe you testified that Detective
   17     Moore was somewhat independent; is that correct?
   18     A.         Yes.
   19     Q.         And did you ever have any problems or
   20     concerns associated with that level of independence?
   21     A.         Yes.
   22     Q.         What was that?
   23     A.         Later on, after the Gillispie case -- I
   24     believe this all occurred after the Gillispie case
   25     had been adjudicated on the second time.                Detective

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                                  Transcript of Tim L. Wilson
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   1      Moore applied for and was granted permission to
   2      transfer to the CANE unit in Montgomery County, Ohio,
   3      that is the combined -- I believe it's called the
   4      Combined Agency Narcotics Investigators.
   5                     It's a drug investigation squad with the
   6      Montgomery County Sheriff's Department and regional
   7      departments in Montgomery County.            And he was
   8      promoted -- I won't say "promoted," it wasn't a
   9      promotion.     He was transferred to that position by
   10     Chief Tom Angel.
   11     Q.        Then what happened?
   12     A.        He was transferred to that position and was
   13     directly supervised by Dave Vore, who later became
   14     the Montgomery County sheriff.
   15                    Dave Vore called me up a couple of times
   16     and said, "I've got a concern with Detective Moore.
   17     He's independent."       He -- "We are having problems
   18     with him, trying to convince him that he needs to let
   19     his supervisor directly know where he's going, what
   20     he's doing, who he's out in the field with, what he's
   21     investigating, contacts he's being with."
   22                    We are talking drug investigations.             I
   23     said, "I'll have a talk with him."
   24                    We did have those talks.          I received a
   25     couple of more phone calls from Dave Vore.               We had

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                                  Transcript of Tim L. Wilson
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   1      additional -- I had additional talks with Detective
   2      Moore.    And at one point or another Dave said, "Go
   3      talk to your chief and tell him to send me somebody
   4      else."
   5                       I talked to my captain, then I talked to
   6      the chief with my captain.          We suggested to pull
   7      Scott Moore out of CANE, get him back into Miami
   8      Township.
   9                       The chief said, "No, he will stay there."
   10     I got a subsequent call again from Dave Vore, and
   11     Dave Vore said, "Either you take him out, or I'm
   12     going to take him out."
   13                      And I said, "Okay, I'll tell the chief."
   14     And I told the chief, and at some point or another
   15     Chief Moore -- or Chief Angel recalled him back to
   16     the police department.
   17     Q.        Now, when you first started in the
   18     department, did anybody say anything to you about
   19     Moore being independent or needing -- struggling with
   20     supervision or anything like that?
   21     A.        Yes.
   22     Q.        And who was that?
   23     A.        Captain Scothorn.
   24     Q.        When did that conversation happen?
   25     A.        I don't remember.        I don't have the date.         I

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                                  Transcript of Tim L. Wilson
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   1      didn't document it, but it was when I first got
   2      there.
   3      Q.        So you knew to try to keep an eye out on
   4      Detective Moore?
   5      A.        It was in the back of my mind, yes.
   6      Q.        And were you aware of whether or not the Wise
   7      rape investigation was one of the first major cases
   8      he had as a detective?
   9      A.        Say that again now.
   10     Q.        Were you aware of the fact that the Wise rape
   11     investigation was one of the first major cases that
   12     he had as a detective?
   13     A.        Not when I first got there, no.
   14     Q.        When you learned about the case, did you
   15     become aware of that fact?
   16     A.        Yes.
   17     Q.        And you knew that he had only been a
   18     detective for a little bit of time, correct?
   19     A.        Yes.
   20     Q.        That's something that you learned when you
   21     spoke with Mr. Scothorn when you started, correct?
   22     A.        Yes.
   23     Q.        It sounds like Captain Scothorn gave you sort
   24     of a rundown of the back story of all of the guys
   25     that you were supervising; is that fair to say?

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   1      A.        Quite a few of them, yes.
   2      Q.        Well, definitely Mr. Moore, though, correct?
   3      A.        Yes.
   4      Q.        Anything else you can recall about what
   5      Captain Scothorn told you when you were initially
   6      starting as it relates to Mr. Moore?
   7      A.        Yes.
   8      Q.        What is that?
   9      A.        Well, in a general conversation he told me
   10     things like, "You know Scott is Jim Moore's son."
   11                      Jim Moore was the previous police chief.
   12     And I said, "Yes."
   13                      And it was implicated that Chief Angel
   14     kind of owed a little bit of allegiance to Chief
   15     Moore for getting Tom Angel the job as police chief.
   16     So it was kind of thought that the chief would go an
   17     extra step for Scott Moore.
   18     Q.        Anything else?
   19     A.        That's about it.
   20     Q.        Is it fair to say that Scott Moore had a
   21     little bit of extra leeway as a young detective,
   22     given the fact that --
   23                      MR. KAY:    Objection.
   24                      MR. DOWD:    I'm also going to object.         I
   25     didn't even hear the question, so --

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                                  Transcript of Tim L. Wilson
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   1                       MR. KASSON:     Are you sure it's
   2      objectionable?
   3                       MR. DOWD:     Since I didn't hear it, I
   4      object.
   5      BY MR. OWENS:
   6      Q.        All right.        Is it fair to say that Scott
   7      Moore had more leeway as a young detective in the
   8      department because his father was the former chief?
   9      A.        There was that appearance.
   10                      MR. DOWD:     I'd object as to foundation.
   11                      THE WITNESS:     There was appearance of
   12     that, yes, in my opinion.
   13     BY MR. OWENS:
   14     Q.        And that's what you observed as a newcomer to
   15     the department?
   16     A.        Yes.
   17     Q.        Did you ever hear the word "cowboy"
   18     associated with Scott Moore at all?
   19     A.        Yes.
   20                      MR. KAY:     Objection.
   21     BY MR. OWENS:
   22     Q.        And tell me anytime you can remember hearing
   23     that.
   24     A.        I believe it came up in the conversations
   25     with Dave Vore, the director of CANE, the Montgomery

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                                  Transcript of Tim L. Wilson
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   1      County Sheriff's Office, somewhere in that time
   2      period.
   3      Q.        Did you ever hear the term "cowboy"
   4      associated with Scott Moore when you first started at
   5      the department?
   6      A.        No, I don't think so.
   7      Q.        Did you ever have any personal conversations
   8      with Steve Fritz?
   9      A.        Yes.
   10     Q.        In what context?
   11     A.        Very short, more like greetings.             "Hey, how
   12     are you doing?"       "Hello."     "How is it going at the
   13     township?"       "How is it going at Warren County
   14     Sheriff's Office?"       And that was about it.          I knew
   15     very little -- I had very little contact with Steve
   16     Fritz.
   17                      MR. KASSON:     When you get to a good
   18     breaking point, let's take a break, whenever it is
   19     good for you.
   20     BY MR. OWENS:
   21     Q.        Yeah.     I should have said this earlier too.
   22     If you ever need a break at any point during the
   23     deposition, feel free to take one, so long as there's
   24     not a question pending.          So you if you answer the
   25     question, then we can take a break.

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                                  Transcript of Tim L. Wilson
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   1                     I don't mean for this to be an endurance
   2      contest.     I keep meaning to take a break, but then I
   3      forget because I have all of my thoughts going.                So
   4      feel free to ask for one, and this is a fine point to
   5      do that.
   6      A.         I understand.     Thank you.
   7                     MR. OWENS:      So we'll just take five.
   8                     (An off-the-record discussion was held.)
   9      BY MR. OWENS:
   10     Q.         So you didn't have any -- fair to say you
   11     didn't have any professional interactions with
   12     Mr. Steve Fritz?
   13     A.         I did not.
   14     Q.         What about Gary Bailey?
   15     A.         I know Gary as a police officer and as a
   16     corporal with the Miami Township Police Department.
   17     We worked together on the force at the same time
   18     period.
   19     Q.         And you mentioned that ranking a couple
   20     times, corporal.        What was the corporal rank?         Where
   21     did that fall within the hierarchy at the time?
   22     A.         A corporal position, whether it be on the
   23     street or in the detective section -- on the street
   24     it would have been higher than a patrolman's rank,
   25     and just underneath a patrol sergeant's rank; the

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                                  Transcript of Tim L. Wilson
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   1      same way with the detective.          A detective corporal
   2      would be one step above detective, one pay grade
   3      below detective -- I'm sorry, sergeant detective.
   4      Q.        Okay.     And when you were at the department,
   5      you were -- Mr. Bailey had already left the detective
   6      division, correct?
   7      A.        I don't believe he was ever in the detective
   8      section with me.
   9      Q.        Now, I understand your testimony today is
   10     that you didn't directly supervise Mr. Moore on the
   11     Wise case, and you learned about it sometime after
   12     you first arrived at the department, right,
   13     basically?
   14     A.        Yes.
   15     Q.        And what I'm wondering is, did you ever read
   16     the initial case reports, the handwritten ones, for
   17     the Wise case?
   18     A.        No.
   19     Q.        Would it have been in your practice to do so?
   20     A.        If I'd known about it at the time, yes.
   21     Q.        And why didn't you do it -- why didn't you
   22     read the original reports and get caught up on it
   23     when you found out about the case?
   24     A.        When I found out about the case, I can't say
   25     that I didn't.       I may have when I found out about the

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                                   Transcript of Tim L. Wilson
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   1      case.     I don't remember.
   2      Q.         When you were initially -- when you initially
   3      arrived in the department and you started assigning
   4      cases to the detectives, did you read the underlying
   5      handwritten reports to the extent that they existed
   6      from the original incident?
   7      A.         Of cases I was -- that was brought aware to
   8      me?
   9      Q.         Yeah.
   10     A.         That was presented to me?          I would at least
   11     skim over them, yes.
   12     Q.         Now, do you remember going to Mr. Gillispie's
   13     house and being present for his arrest?
   14     A.         I do not.
   15     Q.         Did you have any conversations with Scott
   16     Moore about the evidence that he believed that he had
   17     against Gillispie that would have justified his
   18     arrest?
   19     A.         I do not.
   20     Q.         Do you remember having a conversation with
   21     Scott Moore about whether or not Gillispie should be
   22     allowed to stay at his house when a search warrant
   23     was being effectuated?
   24     A.         I have no knowledge.
   25     Q.         Do you deny that or is it just something that

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                                  Transcript of Tim L. Wilson
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   1      you don't recall?
   2      A.        I don't remember ever having that
   3      conversation.
   4      Q.        All right.     Let's go back to what we have got
   5      here as Exhibit 6.       Now, on the bottom do you see
   6      that there are numbers -- we call those Bates numbers
   7      in the law.      Do you see the numbers there, sir?
   8      A.        Yes.
   9      Q.        Would you take a moment and turn to the page
   10     number that says 35106 at the bottom.
   11     A.        35106, okay.
   12     Q.        Yes, sir.     Do you see the entry there that
   13     starts about halfway down?
   14     A.        Yes.
   15     Q.        All right.     And would you just take a moment
   16     to just review that, and I think it goes onto the
   17     next page, and then just look up once you have had
   18     the chance to review that portion of the document.
   19     A.        I've reviewed it.
   20     Q.        All right.     Now, do you see this mentions
   21     yourself being present for the arrest of
   22     Mr. Gillispie?
   23     A.        I see it.
   24     Q.        Does this refresh your recollection one way
   25     or the other about whether or not you were present

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   1      for that?
   2      A.        I do not recall.       Don't think it ever
   3      happened.
   4      Q.        Why don't you think it ever happened?
   5      A.        I don't remember it.
   6      Q.        Do you know anybody named Sergeant Jones at
   7      the Fairborn Police Department?
   8      A.        No.
   9      Q.        Would Sergeant Jones have been -- had any
   10     right to provide sergeant -- excuse me, strike that.
   11                     Would Sergeant Jones or any officer from
   12     the Fairborn Police Department have had the authority
   13     to provide an order to Scott Moore effectuating this
   14     arrest?
   15                     MR. KASSON:     Objection.     I don't
   16     understand the question.         If you understand it, you
   17     can answer.
   18                     THE WITNESS:     I don't understand it.         I
   19     was going to ask you to clarify it.
   20     BY MR. OWENS:
   21     Q.        Sure.     So do you see how -- well, let's just
   22     make it easier.
   23                     Would it be typical practice for you as a
   24     sergeant in Miami Township Police Department in 1990
   25     to go out and effectuate arrests with detectives?

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   1      A.        No.
   2      Q.        And why not?
   3      A.        My understanding from my supervisor, Captain
   4      Scothorn, his thinking was supervisors supervise,
   5      detectives go out in the field and detect.
   6                       That was contrary to what I had done at
   7      other departments.       Plus, we had fewer people at the
   8      other department.       So as a detective sergeant, I was
   9      also out in the field a lot more.
   10                      At Miami Township it was expected to let
   11     the field detectives go out and do their
   12     investigations, and if they needed assistance, ask
   13     for it, and I would go.         Or if I saw something that I
   14     thought needed my attention, I would do.
   15     Q.        Okay.     And so you did not go with Scott Moore
   16     to arrest Dean Gillispie; is that correct?
   17     A.        I did not.
   18     Q.        Now, earlier today -- you can put that to the
   19     side, sir -- you mentioned having a log of the cases
   20     that you organized when you wanted the sups back.                 Do
   21     you recall that you had a book that you kept the
   22     supplementary reports logged in; is that correct?
   23     A.        Yes.
   24     Q.        Did I get the description of that wrong?
   25     A.        Logbook is fine.       Journal.     Case report book.

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   1      Q.        How would you describe it?
   2      A.        I just referred to it as my case report book.
   3      Q.        Now, was that yours or something that was
   4      generally maintained by the department?
   5      A.        It was basically mine.         I brought --
   6      basically brought that idea with me.
   7      Q.        So that's not a practice that existed before
   8      you arrived?
   9      A.        Not to my knowledge.
   10     Q.        All right.     I want to show you what was
   11     previously marked as Exhibit 12.            Do you recognize
   12     what this document is, sir?
   13     A.        No.
   14     Q.        All right.     Were you familiar with the
   15     process of assigning case numbers to particular
   16     incidents or calls at the Miami Township in 1990?
   17     A.        Repeat that one time for me.
   18     Q.        Were you familiar with the process of
   19     assigning case numbers to particular calls or
   20     incidents at the Miami Township Police Department
   21     when you first got there or at any time before?
   22     A.        Vaguely.     I believe the -- I believe the
   23     dispatchers, once they received a call and dispatched
   24     a patrolman, if the officer responded and took a
   25     report, they would often ask for a case number.                And

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   1      the dispatchers would log it and give them a case
   2      number, to the best of my memory.
   3      Q.        Do you know where -- are you aware of any --
   4      of a place at the Miami Township Police Department
   5      where a book like this might have been held?
   6      A.        To the best of my memory, the dispatchers
   7      maintained a book on their desk at their ready to
   8      where they could give the next following case number
   9      or report number, actually not a case number, but a
   10     report number, to an officer who requested it.
   11     Q.        All right.     Now, I want to show you what's
   12     been previously marked as Exhibit 16 from a prior
   13     deposition.
   14                      MR. DOWD:    When you refer to Exhibit 12,
   15     just for my -- is that the Bates Number 9117?
   16                      MR. OWENS:    Yes, sir.
   17                      MR. DOWD:    Okay.   Thank you.
   18     BY MR. OWENS:
   19     Q.        Do you see this picture of a photo array?               Do
   20     you see it?
   21     A.        Yes.
   22     Q.        Who is in box number one?
   23     A.        He's a good-looking man.          I believe that's
   24     me, Tim Wilson.
   25     Q.        All right.     Who is in box number 4?

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   1      A.        That is Detective John DiPietro.
   2      Q.        Thank you.
   3                       Were you present for any interviews or
   4      interrogations or conversations that Detective Moore
   5      had with Dean Gillispie at the Miami Township Police
   6      Department?
   7      A.        No.
   8      Q.        Are you aware of any practice of the Miami
   9      Township Police Department in 1990 that authorized
   10     detectives to order individuals into the police
   11     station for interviews, even if they didn't have a
   12     warrant or probable cause to arrest them?
   13     A.        Yes.
   14     Q.        Okay.     What was that?
   15     A.        It was specifically designated for
   16     financial-type crimes, for the best that I can
   17     recall.    If we thought someone had written a bad
   18     check and we had an address on that check and a name,
   19     we would often, instead of physically sending someone
   20     out there, we would often send a letter to them
   21     requesting them to come in to be interviewed about
   22     this bad check.
   23     Q.        Sure.     Now, would those requests have any
   24     kind of warning or threat that they would be arrested
   25     if they didn't go in -- come into the Miami Township

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   1      Police Department?
   2      A.        Honestly, I don't remember.
   3      Q.        Do you think as a supervisor in 1990, whether
   4      or not that would be lawful to order somebody to come
   5      to the police station if you didn't have a warrant
   6      for their arrest?
   7                     MR. KASSON:      Objection.     You can go ahead
   8      and answer.
   9                     MR. DOWD:     Objection to form and
   10     foundation.
   11                    THE WITNESS:      Would it be lawful?
   12     BY MR. OWENS:
   13     Q.        Yes, sir.     In your --
   14     A.        I think it would be lawful, yes.
   15     Q.        To order somebody to come to the police
   16     station, even if there were no arrest warrant, on the
   17     threat that they would be arrested if they don't show
   18     up?
   19                    MR. KASSON:      Same objection.        You can go
   20     ahead and answer.
   21                    THE WITNESS:      I believe it would be
   22     lawful.
   23     BY MR. OWENS:
   24     Q.        Let me show you, sir, what has previously
   25     been marked as Exhibit 21.          Are you familiar with

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   1      this form?     Without the details being filled in, just
   2      the form of the document.
   3      A.        I've seen similar writings like this, a
   4      similar form, yes.
   5      Q.        Is this a standard form that the Miami
   6      Township Police Department used in 1990?
   7      A.        "Standard" would be the key word.            And I do
   8      not think it would be a standard form.
   9      Q.        Okay.     Now, do you see the bottom two lines
   10     that happen to be highlighted in yellow?
   11     A.        Yes, I do.
   12     Q.        Would those be part of the typical form, or
   13     is that something that would have been added in this
   14     particular instance?
   15     A.        I do not remember this being standard
   16     procedure with the wording as it is worded now.
   17     Q.        And what do you mean by that?
   18     A.        Well, I do not believe that -- I have to
   19     concentrate or -- I have to express that during
   20     financial crimes is where I saw this type of letter.
   21                    And I do not remember seeing "Failure to
   22     appear will result in a warrant being issued for your
   23     arrest," because we didn't know if we could legally
   24     arrest that person, or if that person was actually
   25     the person that may have done a financial crime, but

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   1      it was -- it was not out of routine to send a letter
   2      to someone saying we have -- we are investigating a
   3      financial crime, come to the police department.
   4      Q.        Right.    It wouldn't be out of routine to send
   5      a letter asking somebody to come to the police
   6      department like this one.          It would have been out of
   7      routine to include the last two lines; is that fair
   8      to say?
   9      A.        It was not routine, in my opinion.
   10     Q.        Can you think of any other time that you have
   11     seen one of these two letters with these last two
   12     lines that are highlighted in yellow on this one?
   13     A.        No.
   14     Q.        As a supervisor, if somebody was working on a
   15     major case like this rape case here, would your
   16     officers -- to come you for some type of approval if
   17     they were going to make an arrest?
   18     A.        No.
   19     Q.        Do you have any conversations with Scott
   20     Moore that you can recall about his decision to
   21     pursue Gillispie or to arrest him?
   22     A.        No.
   23     Q.        Now, as an incoming new sergeant detective in
   24     1990, how did you become familiar with the practices
   25     and policies of the department?

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                                  Transcript of Tim L. Wilson
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   1      A.        Mainly by physically being there, day-by-day
   2      operations and as situations presented themselves.
   3      Q.        Did Captain Scothorn sit you down and say,
   4      here is how we do this, here is how we do this, and
   5      sort of give you an orientation of any sort?
   6      A.        Not to that extent, no.
   7      Q.        Was there something to a lesser extent?
   8      A.        I don't remember.
   9      Q.        Were you familiar with the manner in which
   10     case reports or supplemental reports were submitted
   11     to the prosecutors or to the criminal justice system
   12     after a case had been charged?
   13     A.        Yes.
   14     Q.        What was the process for that?
   15     A.        Well, after charges had been filed?
   16     Q.        Yes, sir.
   17     A.        If there was a supplemental report, then the
   18     detective printed out a copy and sent it to the
   19     prosecutor's office, usually by physically going
   20     downtown to Dayton, Ohio, and dropping it off to that
   21     prosecutor.
   22     Q.        All right.     What about -- what was the
   23     process for before charges were filed?
   24     A.        Before?
   25     Q.        Yes, sir.

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                                  Transcript of Tim L. Wilson
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   1      A.        They would accumulate all of their reports,
   2      the case file, evidence documents, evidence receipts,
   3      photographs, anything that had particular interest to
   4      that case, and they would physically bundle it up and
   5      physically take it to a prosecutor for a prosecutor's
   6      review, a denial or approval, and then it would go
   7      through the system from there.
   8      Q.        What do you mean, "it would go through the
   9      system from there"?
   10     A.        Well, the prosecutor's office would file a
   11     charge, would either send it to the grand jury, may
   12     approve a warrant to be issued, and the warrant would
   13     be taken to the appropriate court in the jurisdiction
   14     and a warrant issued and a physical arrest made.
   15     Q.        And what I'm wondering is about the process
   16     of ensuring that the prosecutor had all of the
   17     documents that needed to be turned over in the file.
   18     Can you tell me about what steps or what the practice
   19     was at the time at Miami Township in 1990 for that?
   20     A.        Yes, I can.
   21     Q.        Thank you.
   22     A.        The detective or officers assigned to the
   23     case, it was their responsibility to make available
   24     to print out, to provide to the prosecutor every
   25     piece of work that they had generated for the

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                                  Transcript of Tim L. Wilson
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   1      prosecutor's review, so it was solely their
   2      responsibility to do that.          And as far as I know,
   3      they did.
   4      Q.        Was there any sort of a log system or
   5      discovery, production, kind of, tracking system that
   6      would allow you as a supervisor to say, all right, on
   7      this case the discovery was turned over to the
   8      prosecutor on this date; there was some supplemental
   9      reports written after; whereas those were tendered to
   10     the prosecutor on a subsequent date?             Any system like
   11     that in 1990 or 1991?
   12     A.        No.
   13     Q.        Now, you understood as the supervisor of
   14     detectives in 1990 that it was required that officers
   15     turn over all of the important, exculpatory, whatever
   16     it was, evidence in the file to the prosecutors,
   17     right?
   18     A.        Yes.
   19     Q.        And you understood that part of the reason
   20     that that had to be done was because if it wasn't
   21     turned over to the criminal defendants, that might
   22     violate their right to a fair trial, correct?
   23     A.        Certainly.
   24     Q.        And as a -- well, take a step back.             In 1990
   25     and 1991, was there a name referred to for the file

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                                  Transcript of Tim L. Wilson
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   1      the detectives would use?          Was there a common name
   2      for that file?
   3      A.        Just usually it was the case name of the
   4      person involved that had reported the crime; the
   5      Wilson file.
   6      Q.        So this would be the Wise sisters' file?
   7      A.        It could have been the Gillispie file or it
   8      could have been the Wise file.           I'm not sure which
   9      one he classified it under.          But there were times
   10     where if the main suspect had been worked and it was
   11     believed that suspect was the person, it could have
   12     been Gillispie/Wise, Wise/Gillispie.
   13     Q.        Who knows?
   14     A.        Yeah.
   15     Q.        Okay.     And you didn't personally know about
   16     this particular file, correct?
   17     A.        I did not.
   18     Q.        Did you ever supervise Scott Moore in any way
   19     as it relates to the things that he did or did not
   20     turn over to the prosecutors or criminal defense?
   21     A.        Personally supervise, no.
   22     Q.        Did you have any conversations with Scott
   23     Moore about that topic?
   24     A.        Not that I can recall.
   25     Q.        Would it have been your practice to have

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                                  Transcript of Tim L. Wilson
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   1      conversations like that with detectives you
   2      supervised as it relates to what they have turned
   3      over to prosecutors in their criminal defense and
   4      when they did it or anything like that?
   5      A.        On other cases I'd assigned to them, yes.
   6      Q.        So you are saying you wouldn't have done that
   7      here because you didn't assign this to Mr. Moore; is
   8      that correct?
   9      A.        Not only did I not assign it to him, I wasn't
   10     aware of it for quite some time.
   11     Q.        All right.     And it's your testimony that you
   12     were not aware of this particular case until after
   13     Mr. Gillispie was charged; is that correct?
   14     A.        No, I can't say after he was charged.             And I
   15     cannot testify here today as to exactly when that
   16     was, but it was sometime later after I had been
   17     there.    I don't know if it was before he was charged
   18     or after he was charged, or if it was at the time
   19     period when they took the case to the prosecutor's
   20     office.
   21     Q.        Did you participate in taking the case to the
   22     prosecutor's office with Detective Moore?
   23     A.        No.
   24     Q.        Why not?
   25     A.        I don't recall that it was necessary for me

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                                   Transcript of Tim L. Wilson
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   1      to do that.
   2      Q.         Is that something that you would have done
   3      typically on investigations for detectives, is go
   4      with them to present the case to the prosecutor?
   5      A.         Not unless I had actually participated in
   6      recovering evidence, making arrests, doing the search
   7      warrant.
   8      Q.         Okay.     Were you ever aware of an individual
   9      named Bob Burke, Robert Burke, from General Motors?
   10     A.         Prior to this case's lawsuit, no.
   11     Q.         What about David Burke?
   12     A.         No.
   13     Q.         You testified earlier that you spoke with
   14     Steven Gray about this lawsuit, correct?
   15     A.         Yes.
   16     Q.         What did you talk to him about?
   17     A.         We talked about this case.          We talked about
   18     his participation -- let me back up.
   19                       We talked about his involvement being in
   20     the property room, or records property officer.                And
   21     then he said, "I'm being accused of destroying
   22     evidence, getting rid of evidence," or something like
   23     that.
   24                       And I said, "What did you do?         What did
   25     you handle?"

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                                  Transcript of Tim L. Wilson
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   1                     He said, "Do you remember the clothing of
   2      the girls?"
   3                     And I said, "No.       I never handled them,
   4      never touched them, never saw them."
   5                     He said, "Well, I signed it back" -- I
   6      believe he said, "I signed it back to the girls,
   7      returned it to the girls upon their request."
   8                     And I said, "Well, who told you to do
   9      that?"
   10                    He said, "Fess Blair."         And he said,
   11     "They need to call Fess Blair."
   12                    I said, "You do realize Fess Blair is
   13     dead.    They can't call Fess Blair."
   14                    And he said, "Yes, of course, I do know."
   15                    I said, "Did anybody else tell you to get
   16     rid of the evidence, turn the evidence back over to
   17     the girls?"
   18                    He said, "No, Fess Blair did."
   19                    I said, "Is that all you did?"
   20                    He said, "That's it."
   21                    I said, "You did what you were told.             You
   22     have got no problem."        And so that's about all we
   23     have talked about.
   24     Q.        Do you keep up with Mr. Gray?
   25     A.        Not as much as Mr. Scothorn, but occasionally

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                                  Transcript of Tim L. Wilson
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   1      we do talk.
   2      Q.         So Mr. Gray was involved in the property room
   3      and the records room, correct?
   4      A.         I know that he was a court -- prisoner
   5      transport person to the court, officer to the court.
   6      He worked in property and he worked in records.
   7      Q.         Right.    And what I'm wondering is, are you
   8      aware of how records were kept at the department in
   9      1990 or 1991?
   10     A.         Well, they were maintained in files, hard
   11     copies in files in file cabinets in the records
   12     section.
   13     Q.         And am I right that at the time that, even
   14     though there was a shift to some computerization of
   15     typing some supplemental reports, that those would
   16     then be printed and then placed into a physical file?
   17     A.         Yes.
   18     Q.         Do you know about whether or not there was,
   19     like, control cards or how the files were maintained
   20     in the records division?
   21     A.         I don't know, sir.
   22     Q.         Do you know where the original case file is
   23     for the Wise sisters' investigation?
   24     A.         Today?
   25     Q.         Yes.

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                                  Transcript of Tim L. Wilson
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   1      A.        I have no idea.
   2      Q.        Have you had any conversations with Scott
   3      Moore about this case?
   4      A.        No.
   5      Q.        Do you keep up with him at all?
   6      A.        None.
   7      Q.        Why not?
   8      A.        He basically went his way, I went mine, and
   9      we never had a personal or friendship relationship.
   10     Q.        What about Detective DiPietro?
   11     A.        The same, same answer.
   12     Q.        You don't keep up with him at all?
   13     A.        Only about FOP business.
   14     Q.        And in what context do you interact with
   15     Mr. DiPietro about FOP business?
   16     A.        We just talk about meetings.           We talk about
   17     fees that are due, get-togethers with FOP.               We don't
   18     discuss business at all.
   19     Q.        Are you active with the FOP?
   20     A.        I am.
   21     Q.        And to what extent?
   22     A.        Actually, I just joined again last year.              I
   23     had not been a member for quite a few years, and I
   24     joined the FOP last year.
   25                     So the joining process was I had to go

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                                   Transcript of Tim L. Wilson
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   1      through John DiPietro who was -- I think he was vice
   2      president last year.         And he got me the FOP cards and
   3      I paid my dues, sent my dues to him so he could pay
   4      my dues to the local and state lodges.
   5      Q.         And are you still registered out of Ohio
   6      then?
   7      A.         Yes, I'm a member of the Ohio lodge.
   8      Q.         Okay.     And Mr. DiPietro is still active in
   9      the Ohio lodge FOP as of last year?
   10     A.         I think he's now the president of the lodge.
   11     Q.         What police station does Mr. DiPietro work
   12     for now?
   13     A.         I'm not aware that he is a police officer.
   14     Q.         Okay.     You are aware of the circumstances in
   15     which Mr. DiPietro left the Miami Township Police
   16     Department?
   17     A.         I am.
   18     Q.         And that doesn't -- does it concern you at
   19     all that he is the vice president or president of the
   20     FOP, the lodge that you signed up for?
   21     A.         Slightly.
   22     Q.         Have you taken any steps to express that
   23     concern?
   24     A.         No.
   25     Q.         Do you express anything -- any concern about

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                                  Transcript of Tim L. Wilson
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   1      that to Mr. DiPietro?
   2      A.        No.
   3      Q.        I want to loop back to Mr. Wolfe.
   4      A.        Yes, sir.
   5      Q.        Do you remember Mr. Wolfe coming to the Miami
   6      Township Police Department at all after you started?
   7      A.        No.
   8      Q.        Did you have any conversations with Rick
   9      Wolfe about any criminal investigation at GM after
   10     you started?
   11     A.        I did not.
   12     Q.        Did you have any conversations with any --
   13     with Rick Wolfe about Gillispie after you joined the
   14     Miami Township Police Department again in 1990?
   15     A.        I did not.
   16     Q.        Did you ever have any conversations with
   17     Scott Moore about Rick Wolfe being one of the
   18     witnesses in his prosecution?
   19     A.        Not that I recall.
   20     Q.        Now, you found out -- did you have any
   21     conversations with Chief Angel about this
   22     investigation?      And when I say "this investigation,"
   23     I mean of the Wise twins' rapes or Gillispie, however
   24     you want to refer to it.
   25                     MR. DETERS:     Can you repeat the question?

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                                  Transcript of Tim L. Wilson
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   1      I'm sorry.       It sounded like you were ruffling papers
   2      maybe.
   3                       MR. OWENS:    No, it was one of you-all.
   4                       MR. DETERS:    I was on mute, so it wasn't
   5      me.
   6                       MR. OWENS:    Yes.
   7                       MR. DETERS:    Thank you.
   8      BY MR. OWENS:
   9      Q.        Did you have any conversations with former
   10     Chief Angel about the Wise sisters investigation or
   11     Gillispie, however you want to refer to it?
   12     A.        No.
   13     Q.        Now, when was the first time that you found
   14     out that Gillispie's conviction had been overturned?
   15     A.        I don't remember.
   16     Q.        Was it probably in 2013 when you got sued, do
   17     you recall that?
   18     A.        Was that the first time I heard about it?
   19     Q.        Yes.
   20     A.        That his conviction was overturned?
   21     Q.        Yes.
   22     A.        I thought you meant when he got a second
   23     trial.
   24     Q.        I got it.
   25     A.        I apologize.

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                                  Transcript of Tim L. Wilson
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   1      Q.        Got it.     No, we are on the same page now.
   2                       You don't remember finding out about the
   3      process of him getting a second trial back in 1991;
   4      is that right?
   5      A.        Correct.
   6      Q.        Did you talk to Steve Gray about anything
   7      related to evidence that had gone missing that led to
   8      Mr. Gillispie getting a second trial?
   9      A.        As I said, the only thing I've talked to
   10     Steve about was the property he said he released
   11     under the direction of Fess Blair.
   12     Q.        Do you think it was unfair that Mr. Gillispie
   13     got a second trial in 1991?
   14     A.        I can't say one way or the other.            I don't
   15     know that much about it.
   16     Q.        All right.     Now, you found out that
   17     Gillispie's conviction, after he spent a long time in
   18     prison, was subsequently overturned, correct?
   19     A.        Yes.
   20     Q.        What do you know about that?
   21     A.        I think I learned it through the lawsuit.
   22     Q.        Okay.     Do you have an opinion one way or the
   23     other about whether or not Mr. Gillispie was
   24     wrongfully convicted?
   25     A.        Do I have an opinion?

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                                   Transcript of Tim L. Wilson
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   1      Q.         Yes, sir.
   2      A.         I have an opinion that he was convicted
   3      correctly by a jury, and my understanding is twice.
   4      Q.         And what is the basis for your opinion
   5      thinking that Mr. Gillispie was correctly convicted?
   6      A.         Because the jury convicted him.              Evidently,
   7      the case was presented to the jury.             He had an
   8      adequate defense at the time, and the jury made their
   9      ruling twice.
   10     Q.         Okay.
   11     A.         Is what I understand.
   12     Q.         Yes, sir.
   13                    And my question is, so you think it was a
   14     mistake that his conviction was turned over --
   15     overturned again after all of those years; is that
   16     correct?
   17     A.         I'm not going to say I think it was a
   18     mistake.     I don't know that much about the judge who
   19     ruled on it or the lawyers that presented it or what
   20     Gillispie has to say.         I just don't know.
   21                    So the court made the ruling, so they
   22     must have thought there was, in the court's opinion
   23     or a judge's opinion or someone's opinion, there was
   24     something somewhere.         I don't know what that is.
   25     Q.         Let's try to be really clear.           You are not

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                                  Transcript of Tim L. Wilson
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   1      aware of the evidence that was presented that led two
   2      courts to declare that Mr. Gillispie's conviction
   3      should be overturned, correct?
   4      A.        That is correct.
   5      Q.        You may have -- did you read the complaint in
   6      this lawsuit?
   7      A.        At some time ago, yes.
   8      Q.        Now, do you have an opinion about whether or
   9      not Mr. Gillispie's conviction should have been
   10     ultimately overturned or whether or not he's
   11     innocent?
   12     A.        Okay.     I do not know what the evidence was of
   13     why it was overturned, if it was overturned.               I do
   14     not know.     I do have an opinion about the accusations
   15     made against me and the other officers at Miami
   16     Township and the crime lab and whoever else is named
   17     in the suit.
   18     Q.        Okay.     And your opinion about those
   19     allegations is that they are false, correct?
   20     A.        In the lawsuit?
   21     Q.        Yes, sir.
   22     A.        Of course they are incorrect and are false.
   23     Q.        And my question is about whether or not you
   24     have an opinion about whether or not Gillispie is
   25     innocent or guilty.

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   1      A.         Yes, I do.
   2      Q.         And what is that?
   3      A.         He's guilty.      The jury said he was, twice.
   4      Q.         And so no other additional evidence or
   5      anything that you have heard would convince you
   6      otherwise, right?
   7      A.         Yes, correct.
   8      Q.         So you don't think that there's a chance that
   9      Scott Moore got a conviction that was a mistake,
   10     correct?
   11     A.         Correct.
   12     Q.         Now, were there -- once a case -- going back
   13     to 1990 and 1991, sir, if a detective that you are
   14     supervising completed a case, how would you provide
   15     that information to the captain or to the chief?
   16     A.         I wouldn't.
   17     Q.         Okay.     What was their involvement in ongoing
   18     investigations?
   19     A.         Very little.
   20     Q.         Would they approve the reports written by
   21     detectives?
   22     A.         They wouldn't even see it unless it was
   23     involved in internal affairs.           I won't say they would
   24     never see it.        Very, very seldom, almost never, would
   25     they see a report written by anybody unless it

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   1      involved internal affairs, and that would be Captain
   2      Scothorn, unless they had some interest in it and
   3      they asked to see it.
   4      Q.        But as sort of a more general matter, Captain
   5      Scothorn and Chief Angel didn't review or weren't
   6      typically given the reports on investigations even in
   7      major cases; is that right?
   8      A.        That's correct.
   9      Q.        And now, did you keep up with former Chief
   10     Angel before he passed away?
   11     A.        Yes.
   12     Q.        Did he live down here too?
   13     A.        No.
   14     Q.        Okay.     How often did you speak with him?
   15     A.        A couple, three or four times a year.
   16     Q.        Did you hang out recreationally?
   17     A.        No, he lived in Ohio.         I lived in Tennessee.
   18     Q.        And you don't like to go back to Ohio?
   19     A.        I despise going back to Ohio.
   20                      MR. OWENS:    We could strike that answer,
   21     for the record, in case this gets played publicly.
   22     BY MR. OWENS:
   23     Q.        When you arrived at the Miami Township Police
   24     Department, were some reports still completed
   25     handwritten?

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                                   Transcript of Tim L. Wilson
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   1      A.         Yes.
   2      Q.         I'm going to show you what's been previously
   3      marked as Exhibit 15.         This is Bates stamp Gillispie
   4      35166 to 35173.
   5                        Now, sir, you can take as much time as
   6      you need to sort of just review the structure of the
   7      document, and then I'm just going to ask you some
   8      questions about just the form, generally, as opposed
   9      to the substance.
   10     A.         Okay.
   11     Q.         Are these -- strike that.
   12                       Am I correct that these are not forms
   13     that you would have typically reviewed pursuant to an
   14     investigation that you were supervising; is that
   15     correct?
   16     A.         That would be correct.
   17     Q.         And I did actually have one more question.
   18     We can go back to Exhibit 16, if you'd like to see
   19     it.
   20                       I wanted to ask you one more thing about
   21     your picture there, which is, where did that picture
   22     come from?
   23     A.         I don't recall.
   24     Q.         Do you know why that that picture was
   25     available at the department?

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                                  Transcript of Tim L. Wilson
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   1      A.        I don't recall.
   2      Q.        Did Scott Moore take that picture
   3      specifically to use in the photo array?
   4      A.        Again, I don't recall.
   5      Q.        Do you recall ever having your picture taken
   6      in a shirt and tie for the purposes of generating
   7      pictures that could be used in a photo array?
   8      A.        I do not recall that, no.
   9      Q.        And I'm not talking about just this time, I'm
   10     talking about anytime.
   11     A.        Never that I recall.
   12     Q.        All right.     I want to show you what's been
   13     marked previously as Exhibit Number 10 -- actually,
   14     we'll start with Exhibit 11, which is Gillispie
   15     35050.
   16                     Sir, are you familiar with that document?
   17     A.        I know what it is now, yes.
   18     Q.        All right.     And what is it now?
   19     A.        It appears to be a composite drawing of a
   20     person on Miami Township Police Department
   21     letterhead.
   22     Q.        And my question is, did you review this in
   23     1990 or 1991 at all?
   24     A.        No.
   25     Q.        I want to show you what's been marked as

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                                  Transcript of Tim L. Wilson
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   1      Exhibit 10.
   2                       MR. OWENS:     I'm sorry, Pat, did you want
   3      copies?
   4                       MR. KASSON:     That's okay.
   5      BY MR. OWENS:
   6      Q.        Do you know what this is?
   7      A.        It appears to be a composite drawing, again,
   8      of a male subject on Miami Township Police Department
   9      letterhead, Jim Moore, Chief of Police.
   10     Q.        Does this look familiar at all?
   11     A.        No.
   12     Q.        Are you familiar with -- so what I want to --
   13     strike that.
   14                      In 1990 and 1991, I understand the
   15     department was moving over to computer supplementary
   16     reports, correct?
   17     A.        Yes.
   18     Q.        What was the practice with respect to what
   19     officers would do with their handwritten notes before
   20     they typed them in the computer?
   21     A.        I don't know that officers actually typed
   22     them into the computer.          Handwritten notes?
   23     Q.        Right.     So if --
   24     A.        Are you talking about field notes?
   25     Q.        Yes, sir.

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                                  Transcript of Tim L. Wilson
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   1      A.         I don't know that field notes were ever
   2      transcribed into a handwritten report on a daily
   3      basis.
   4      Q.         Right.   And so what I'm wondering is, what
   5      was the practice with respect to what would happen to
   6      field notes once the supplementary reports were
   7      written?
   8      A.         As far as I know, they would keep them in
   9      their possession and turn them over to the
   10     prosecutor's office.
   11     Q.         So the field notes were supposed to be
   12     included in the file and turned over to the
   13     prosecutor's office?
   14     A.         My way of thinking back then was, anything
   15     that a detective generated or had possession of, for
   16     or against a defendant, would be given to and
   17     reviewed by a prosecutor.
   18     Q.         So Miami Township officers, in your
   19     experience, never destroyed their field notes after
   20     writing their supplementary reports?
   21     A.         Not to my knowledge.
   22                    MR. DOWD:     Objection.      Foundation.
   23     BY MR. OWENS:
   24     Q.         Did you ever review Scott Moore's field notes
   25     for this investigation?

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                                  Transcript of Tim L. Wilson
                                Conducted on December 18, 2018                  95

   1      A.        No.
   2      Q.        Did you ever review Scott Moore's field notes
   3      for any investigation?
   4                       MR. KAY:   Objection.      Foundation.
   5      BY MR. OWENS:
   6      Q.        Go ahead.
   7      A.        I'm thinking.
   8      Q.        Okay.
   9      A.        No.
   10     Q.        Did you review any -- can you recall
   11     reviewing field notes for any detectives for any
   12     investigation while you were a sergeant for the
   13     detective division in the Miami Township Police
   14     Department?
   15     A.        No.
   16     Q.        Now, am I correct that there was no general
   17     order or SOP in 1990 and 1991 requiring officers in
   18     the Miami Township Police Department to retain and
   19     disclose their field notes?
   20     A.        An SOP?
   21     Q.        Yes.
   22     A.        A written SOP?       I don't believe there was an
   23     SOP that specifically spelled out field notes to be
   24     retained.
   25     Q.        Okay.     Was there an SOP that laid out some

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                                  Transcript of Tim L. Wilson
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   1      other types of notes must be retained or any other
   2      type of documents that you can recall in 1990-91,
   3      before the accreditation?
   4      A.        I don't recall such SOP.
   5      Q.        And before the accreditation, were formal
   6      orders -- was the format standard operating
   7      procedures, is that what the Miami Township Police
   8      Department used?
   9      A.        Format.
   10     Q.        So some police departments use general
   11     orders, some police departments use manuals, some
   12     police departments use booklets.
   13                    In Miami Township in 1990, when you
   14     showed up, what did they use for saying this was the
   15     official policy of the department?
   16     A.        The most that I can remember and the most
   17     that I was involved in were standard operating
   18     procedures of conduct and disciplinary procedures.
   19                    As far as everyday investigative
   20     operation procedures concerning reports, I don't even
   21     remember such a manual, if there was one.
   22     Q.        You are not in possession of anything like
   23     that, are you?
   24     A.        I am not.
   25     Q.        Were you ever given a set of standard

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                                   Transcript of Tim L. Wilson
                                 Conducted on December 18, 2018                 97

   1      operating procedures when you arrived in the
   2      department in 1990?
   3      A.         Of standard operating procedures on --
   4      Q.         Any topic.
   5      A.         Yes.
   6      Q.         You were?
   7      A.         Yes.
   8      Q.         Where are those?
   9      A.         I have no idea.
   10     Q.         When is the last time you saw them?
   11     A.         Probably the day I left the police department
   12     in 1998.
   13     Q.         Would you have retained the original ones
   14     that you had from before the accreditation when you
   15     arrived at the department?
   16     A.         Would I have?
   17     Q.         Retained the original standard operating
   18     procedures, whichever ones you received when you
   19     arrived, even through the accreditation process until
   20     you retired?
   21     A.         Yes, I believe so.
   22     Q.         And you are sure you don't have them in any
   23     storage box, garage, anything like that?
   24     A.         Sir, I have absolutely nothing except maybe
   25     something out of my personnel file; date of hire,

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                                  Transcript of Tim L. Wilson
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   1      retirement date.       Concerning Miami Township, no
   2      police reports, no supplements, no files, no field
   3      notes, nothing like that.          No SOPs, no accreditation
   4      manuals, nothing.
   5      Q.        You have your personnel file?
   6      A.        No, I don't have my personnel file.             I just
   7      have a couple of things from it, which indicated my
   8      hire date and the date that I was sworn in as a clerk
   9      of courts at Miamisburg.
   10     Q.        The hire date that you have, the personnel
   11     document to which you just referred, was that from
   12     Miami Township or from somewhere else?
   13     A.        Actually, it was from the clerk of courts'
   14     office where I was sworn in June the 19th to be a
   15     notary.    I think every officer at Miami Township had
   16     to be sworn in as a notary of the court to be able to
   17     sign documents at court, return warrants and blah,
   18     blah.
   19     Q.        Could you please transmit any documents you
   20     have related to your employment, or Miami Township in
   21     any way, to your attorney so that we can review them?
   22     A.        Yes.
   23     Q.        Thank you.
   24                      Would you be surprised to know that Miami
   25     Township doesn't have a copy of any of the SOPs that

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                                  Transcript of Tim L. Wilson
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    1     existed in 1990?
    2                     MR. DOWD:     Objection.     Form.
    3                     MR. KASSON:     You can answer.
    4                     THE WITNESS:      Would I be surprised?
    5     BY MR. OWENS:
    6     Q.        Yeah.
    7     A.        No.
    8     Q.        Why not?
    9     A.        It's 30 years ago.
    10                    MR. KASSON:     When you get a good time for
    11    a break, we have been going for an hour, so whatever
    12    is a good time for you.
    13                    MR. OWENS:     This is a good time, sure.
    14                    THE WITNESS:      I'm fine, whatever.
    15                    MR. KASSON:     We'll take a five-minute
    16    break.
    17                    (An off-the-record discussion was held.)
    18    BY MR. OWENS:
    19    Q.        So just a few more questions.
    20                    As the sergeant detective -- is that the
    21    correct --
    22    A.        Detective sergeant, sergeant detective.
    23    Q.        In 1990, were there any other individuals who
    24    occupied that position at Miami Township?
    25    A.        In 1990?

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                                  Transcript of Tim L. Wilson
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    1     Q.        Yeah.
    2     A.        Just me and myself and Steve Fritz, as far
    3     as -- as far as I know.
    4     Q.        Right.     And Fritz left right before you,
    5     right?
    6     A.        Yes.
    7     Q.        So then after you got there, were there any
    8     other Miami Township supervisors who were -- whose
    9     job it was to directly supervise the detectives?
    10    A.        No.
    11    Q.        Now, we have gone over a few documents today.
    12    We have gone over the depositions.             You have had a
    13    two-hour meeting with your attorney in advance.
    14                     Is there anything else that you can
    15    recall about the investigation of the Wise rapes or
    16    the Gillispie case, however you want to refer to it,
    17    that you haven't told me today?
    18                     MR. KASSON:    Objection to the form.         You
    19    can go ahead and answer.
    20                     THE WITNESS:     No.
    21    BY MR. OWENS:
    22    Q.        Has our discussion today or review of any of
    23    the documents refreshed your recollection about
    24    anything that you told me that you previously
    25    couldn't recall?

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                                  Transcript of Tim L. Wilson
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    1     A.        They have been helpful.
    2     Q.        And so what I'm saying is, now are there
    3     things that your memory has been jogged on that we
    4     haven't discussed already today?
    5     A.        No.
    6     Q.        Nothing new popped into your head during a
    7     break or as I was asking a different question?
    8     A.        No.
    9     Q.        And you have been completely forthcoming and
    10    truthful in your answers today?
    11    A.        Truthful to the very best of my knowledge.
    12                    MR. OWENS:     I don't think I have any more
    13    questions.
    14                    MR. KASSON:     Anybody else?
    15                    MR. DETERS:     You can go.
    16                    MR. DOWD:     Go ahead.
    17                    MR. DETERS:     This is Jon Deters for Gray,
    18    DiPietro, and Angel.         I have no questions at this
    19    time.
    20                    MR. DOWD:     This is Ned Dowd.        I do have a
    21    few questions of the witness.
    22
    23                                 EXAMINATION
    24    QUESTIONS BY MR. DOWD:
    25    Q.        Mr. Wilson, Ned Dowd here.           I'm the attorney

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                                  Transcript of Tim L. Wilson
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    1     that represents Miami Township, and a couple of
    2     things I'd like to cover with you.             We really didn't
    3     get into the allegations in the complaint, and I'd
    4     like to cover some of those with you just to make
    5     sure we are all on the same page here.
    6                     First of all, there's an allegation in
    7     Paragraph 43 of the complaint that said that you were
    8     responsible, along with Angel and Scothorn, for
    9     reassigning the case to Detective Moore.               Are you
    10    aware of that?
    11    A.         I am, sir.
    12    Q.         All right.     I understand from your testimony
    13    that factually is not an accurate allegation,
    14    correct?
    15    A.         That is correct, sir.
    16    Q.         All right.     Do you know, sir, if the file had
    17    been turned over to Mr. Moore by Detective Fritz
    18    before he left the department?
    19                    MR. OWENS:     Objection to the form of the
    20    question.
    21                    MR. KASSON:     You can go ahead and answer.
    22                    THE WITNESS:      I am unaware of that, sir.
    23    I do not know.
    24    BY MR. DOWD:
    25    Q.         So prior to your arrival, it's certainly

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    1     conceivable that Mr. Fritz could have handed that
    2     file to Mr. Moore, you weren't there and have no
    3     knowledge of that; is that fair to say?
    4     A.        Yes, it is, sir.
    5     Q.        All right.      Now, at least when you took over
    6     at the detective section, did you at least meet with
    7     your detectives to get some understanding of what was
    8     on their plate as far as what they were
    9     investigating?
    10    A.        No.     It was more like what cases -- what type
    11    of cases do you prefer to investigate, what were your
    12    strong points, where would you like to go, and that
    13    helped me make my decision on assigning cases to
    14    individuals.
    15    Q.        Okay.     Did you try to get some understanding
    16    of what currently was on their plate so that you
    17    could decide who may or may not have the time or
    18    resources to take on new work?
    19    A.        I don't recall doing that.
    20    Q.        Okay.     But at least at some point in time it
    21    came to your attention that the Gillispie or the Wise
    22    case was in the office, correct?
    23    A.        That's true, sir.
    24    Q.        And it's my understanding you just can't
    25    recall what point in time that was?

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    1     A.         That's correct, sir.
    2     Q.         All right.     And then I don't recall and I may
    3     not understand, would you at least -- when the report
    4     was completed, is that something you would have at
    5     least reviewed, do you know, or would that have gone
    6     to somebody else within the department?
    7     A.         On that particular case, it very well could
    8     have went to somebody else that assigned the case --
    9     higher authority than me that assigned the case to
    10    Moore.
    11    Q.         So, as you sit here today, is it possible you
    12    may have reviewed that and simply don't recall, or
    13    are you sure that you did not review the final report
    14    before it would have gone to the prosecutor's office?
    15    A.         I may have reviewed it, but I don't remember
    16    reviewing it.
    17    Q.         Right.    I assume over the seven years you
    18    were in the department you were involved in hundreds
    19    of investigations overseeing all of these detectives,
    20    correct?
    21    A.         That's correct, sir.
    22    Q.         And I certainly wouldn't expect you to recall
    23    the review of each and every one of those incidents.
    24    Is it one of those things you may have given it a
    25    review and passed it on and just don't have a recall

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    1     of it?
    2     A.        That's correct, sir.
    3     Q.        And I assume what you'd be reviewing, in any
    4     event, was really just to make sure that the
    5     investigation appeared -- at least what you were able
    6     to review, appears to contain sufficient information
    7     in a professional manner that would be presented to
    8     the prosecutor so they could evaluate it and make a
    9     determination as to whether to accept the case?
    10                    MR. OWENS:     Objection to the form of the
    11    question.
    12                    MR. KASSON:     You can go ahead and answer.
    13    BY MR. DOWD:
    14    Q.        Is that fair to say?
    15    A.        Yes, sir, it is.
    16    Q.        You didn't go through line-by-line and
    17    question each and every entry in these reports of
    18    each of these detectives before they went to the
    19    prosecutor's office?
    20    A.        That's correct.
    21    Q.        Is that fair?
    22    A.        That's correct, sir.
    23    Q.        All right.      Now, in the complaint, there's an
    24    allegation in Paragraph 45 that Moore and Wolfe set
    25    out to frame Mr. Gillispie; and in connection with

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    1     that, they, first of all, fabricated evidence,
    2     withheld and destroyed evidence, unlawfully
    3     undermined Mr. Gillispie's defense, provided false
    4     and misleading testimony.
    5                     All right.     First of all, if, in fact,
    6     that were to occur, that evidence was being
    7     fabricated and whether it was withheld, destroyed, or
    8     providing false testimony, those actions themselves
    9     would, in fact, be criminal acts, would they not?
    10                    MR. OWENS:     Objection to the form of the
    11    question.
    12                    THE WITNESS:      They would be criminal, as
    13    far as I know, sir.
    14    BY MR. DOWD:
    15    Q.        All right.      And as I understand it, I assume
    16    you had certainly no knowledge of any such activities
    17    taking place on any of these files; is that fair to
    18    say?
    19    A.        That is very fair to say, no knowledge of
    20    anybody doing anything like that.
    21    Q.        And, in fact, as a law enforcement officer,
    22    when you are sworn as an officer, you take an oath
    23    that you are going to uphold the Constitution of the
    24    United States, federal laws, the Constitution of the
    25    State of Ohio, state laws and all local ordinances

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    1     and laws, correct?
    2                     MR. OWENS:     Objection.      Form.
    3                     THE WITNESS:      Yes, sir.
    4     BY MR. DOWD:
    5     Q.        All right.      And any officer who would
    6     knowingly or intentionally either fabricate evidence,
    7     withhold or destroy evidence or unlawfully undermine
    8     a suspect's defense, or commit perjury or provide
    9     false testimony, would be acting contrary to that
    10    oath they took when they became a police officer; is
    11    that fair to say?
    12                    MR. OWENS:     Objection.      Form.
    13                    THE WITNESS:      It is, sir.
    14    BY MR. DOWD:
    15    Q.        All right.      In Paragraph 49, it just
    16    generically refers to the defendant officers, sir,
    17    and you are encompassed within that in the complaint.
    18                    And I just want to address for the
    19    record, it states in there that, "Defendant officers
    20    removed from case file supplemental reports authored
    21    by Bailey and approved by Fritz."
    22                    Sir, let me ask you:        Did you remove any
    23    case file supplements or reports authored by Bailey
    24    or Fritz?
    25    A.        Sir, I did not.

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    1     Q.         And did you have any knowledge of any other
    2     officers in the Miami Township Police Department
    3     removing supplemental reports authored by Bailey or
    4     Fritz?
    5     A.         I do not have any knowledge, sir.
    6     Q.         Sir, as a supervisor of the detectives, if,
    7     in fact, that information came to your attention, you
    8     would have, number one, put a stop to it; and, number
    9     two, reported that to your supervisor, I take it,
    10    correct?
    11    A.         Exactly, yes, sir.
    12                    MR. OWENS:     Objection to the form of the
    13    last question.
    14    BY MR. DOWD:
    15    Q.         All right.     Bear with me.      My notes are kind
    16    of scattered here.
    17                    All right.     In Paragraph 74 of the
    18    complaint, it is alleged that the department, Chief
    19    Angel and other high-ranking officials, including
    20    yourself, sir, engaged in a systematic process of
    21    rigging criminal prosecutions against persons whom
    22    they and/or other friends of the department had
    23    problems with.
    24                    Sir, let me ask:       Did you personally
    25    engage in any such systematic process of rigging

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    1     criminal prosecutions against persons whom they or
    2     other friends had problems with?
    3     A.        No, sir, I did not, never.
    4     Q.        All right.      And during the eight years that
    5     you were employed by the Miami Township Police
    6     Department, did it ever come to your attention that
    7     anyone within the department had engaged in the
    8     systematic process of rigging criminal prosecutions
    9     against persons whom they and/or other friends of the
    10    department had problems with?
    11    A.        No knowledge of that, sir, no.
    12    Q.        All right.      And, in fact, if members of the
    13    department were engaged in such conduct, that would
    14    in itself be a criminal act, would it not?
    15                     MR. OWENS:     Objection to the form of the
    16    question.
    17                     THE WITNESS:     Could you repeat that, sir?
    18    BY MR. DOWD:
    19    Q.        Yeah.     If, in fact, there were members of the
    20    police department that had engaged in the systematic
    21    process of rigging criminal prosecutions against
    22    persons whom they or other friends of the department
    23    had problems with, that, in fact, would be a criminal
    24    act in itself, would it not?
    25    A.        Yes.

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    1     Q.        In paragraph 77, it's alleged that "The
    2     defendant officers, GM and county, acted individually
    3     in a conspiracy to destroy, fail to disclose, and
    4     otherwise withheld and/or suppressed exculpatory
    5     information and material from prosecution."
    6                     Sir, did you -- were you aware of any
    7     failure to disclose any exculpatory evidence with
    8     respect to Mr. Gillispie's investigation?
    9     A.        No, sir.
    10    Q.        All right.      And during the eight years that
    11    you served in the department, did it ever come to
    12    your attention that the Miami Township Police
    13    Department had a habit or routine of failing to
    14    disclose or otherwise provide exculpatory evidence to
    15    the prosecutor?
    16    A.        No, sir.
    17    Q.        And I believe you had earlier testified that,
    18    while you were the head of the detective department,
    19    it was common practice of the department for the
    20    investigating detectives to provide all evidence to
    21    the prosecutor, even evidence that may be of an
    22    exculpatory nature, correct?
    23                    MR. OWENS:     Objection to the form of the
    24    question.     It's a mischaracterization of the prior
    25    testimony.

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    1                     THE WITNESS:      That is correct, sir.
    2     BY MR. DOWD:
    3     Q.        And if I've mischaracterized anything, please
    4     let me know.      But my understanding from your
    5     testimony was that you basically expected your
    6     detectives to basically provide everything to the
    7     prosecutor's office, correct?
    8     A.        It was mandatory, yes, sir.
    9     Q.        All right.      And that was, in fact, during the
    10    time period you were there, the custom and practice
    11    of the Miami Township Police Department, was it not?
    12    A.        It was, sir.
    13                    MR. DOWD:     Mr. Wilson, I thank you for
    14    your time.      I believe that's all of the questions I
    15    have.
    16                    THE WITNESS:      Thank you, sir.
    17
    18                                EXAMINATION
    19    QUESTIONS BY MR. KAY:
    20    Q.        Jeff Kay.      Can you hear me?
    21    A.        I can, sir.
    22    Q.        I represent Scott Moore in this case.              Just a
    23    few questions for you.
    24                    Going back to your earlier testimony, you
    25    had stated in your opinion Scott Moore was a good

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    1     detective, true?
    2     A.        Yes.
    3     Q.        All right.        I think you had also stated that
    4     he performed very thorough investigations, correct?
    5                      MR. OWENS:     Objection.     Form.
    6                      THE WITNESS:     Yes.
    7     BY MR. KAY:
    8     Q.        Okay.     And as far as the Connie and Bonnie
    9     Wise rape matter, your testimony was that you thought
    10    it was investigated well; isn't that right?
    11    A.        Yes, by Scott Moore.
    12    Q.        That's right.        So as far as the entirety of
    13    Scott Moore's handling of the Connie and Bonnie Wise
    14    rape investigation, you had no criticisms of them; is
    15    that a fair statement?
    16    A.        You may have to repeat it, sir.              It was kind
    17    of interfered with.
    18    Q.        Sorry.     As far as the entirety of Scott
    19    Moore's handling of the Connie and Bonnie Wise rape
    20    investigation, you have no criticisms of him; is that
    21    a fair statement?
    22    A.        It is, sir.
    23                     MR. KAY:     Thank you.     That's all I have.
    24                     (An off-the-record discussion was held.)
    25    ///

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    1                                EXAMINATION
    2     QUESTIONS BY MR. OWENS:
    3     Q.        Sir, just a couple more questions and then
    4     we'll get out of here.
    5     A.        Yes, sir.
    6     Q.        You testified a moment ago that the
    7     disclosure of all material in the file was mandatory.
    8     Do you recall that?
    9     A.        Yes.
    10    Q.        And there was no written document that said
    11    that at the time, correct?
    12    A.        I cannot remember that there was a written
    13    document, but it was a Tim Wilson, Detective
    14    Sergeant, expectation that detectives do that.
    15    Q.        Okay.     When did you communicate that
    16    expectation to Scott Moore?
    17    A.        I don't know when.        I don't have the date,
    18    just throughout my reign as detective sergeant, at
    19    some point in time it was just general practice,
    20    widely accepted, that when you went down with a case
    21    file to the prosecutors, Montgomery County, Ohio,
    22    prosecutor's office, you took everything and you
    23    showed everything to the prosecutor's office,
    24    exculpatory, for the defendant, against the
    25    defendant, it was our obligation to provide

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    1     everything.
    2     Q.        So you would say that everybody knew that
    3     they had an obligation to turn over the good, bad,
    4     and the ugly to the prosecutors, right?
    5     A.        As detectives, yes.
    6     Q.        And that was the expectation that you had for
    7     your officers, correct?
    8     A.        Exactly.
    9     Q.        But at the same time you didn't take any
    10    steps to figure out whether or not that was happening
    11    or monitor what they did, correct?
    12    A.        I didn't think I had to babysit them, no.
    13    Q.        And you testified a moment ago that, in
    14    response to the questioning from the attorney from
    15    the City of Miami -- or, excuse me, I guess from
    16    Miami Township, it's not a city.
    17    A.        Yes, sir.
    18    Q.        That you didn't review the reports or that
    19    you signed off on them line-by-line; is that correct?
    20    A.        That is true.
    21    Q.        Did you just rubber stamp them?
    22    A.        No.    I wouldn't say rubber stamp, no.            If a
    23    document was handed to me, I at least looked at it,
    24    maybe thumbed through it, maybe read it
    25    word-for-word, it just --

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    1     Q.        Is it fair to say that when you read reports,
    2     you made yourself apprised of what was going on in
    3     the investigations that your detectives were doing?
    4     A.        Yes.
    5     Q.        Particularly for major cases?
    6     A.        Yes.
    7     Q.        And the Wise rape investigation was a major
    8     case, right?
    9     A.        Yes.
    10                     MR. OWENS:     That's all.
    11                     MR. KASSON:     Anybody else?
    12
    13                              EXAMINATION
    14    QUESTIONS BY MR. DOWD:
    15    Q.        Just real quick.        Mr. Wilson, you came in in
    16    1980, and I understand sometime shortly thereafter
    17    the department, through the accreditation process,
    18    came up with some, actually, general orders that then
    19    kind of became the written policies of the
    20    department; is that your understanding?
    21    A.        Sir, I came in in 1990.          I'm sorry.
    22                     MR. OWENS:     We all wanted to say the same
    23    thing.
    24                     THE WITNESS:     The year.
    25                     MR. KASSON:     You said 1980.

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    1     BY MR. DOWD:
    2     Q.         I'm sorry, I know you came in in 1990.             And
    3     subsequent to that time, around 1993, I think you
    4     said as part of the accreditation process there had
    5     been a set of policies and procedures basically
    6     adopted by the department, correct?
    7     A.         Yes, sir.
    8     Q.         All right.     And that ended up being what I
    9     think is now called the General Orders of Miami
    10    Township; do you recall?
    11    A.         I do not recall, sir.
    12    Q.         All right.     Prior to that time when you came
    13    in, you were referencing there were, in place, some
    14    standing operating procedures within the department,
    15    correct?
    16    A.         There were.
    17    Q.         All right.     And as you sit here today, can
    18    you specifically recall all of the standing operating
    19    procedures that were in effect in 1990 when you
    20    arrived?
    21    A.         I cannot, sir.
    22    Q.         Okay.     So there may or may not have been
    23    standing operating procedures with respect to the
    24    detectives' retention of file material with respect
    25    to how detectives are to handle their investigations

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    1     in other matters, we just don't presently have them
    2     in our possession?
    3                     MR. OWENS:     Objection.      Form.     It's
    4     compound as well.        Go ahead.
    5                     THE WITNESS:      There may or may not have
    6     been.
    7                     MR. DOWD:     That's all of the questions
    8     I've got.     Thank you.
    9                     THE WITNESS:      Yes, sir.     Thank you.
    10                    MR. KASSON:     Anybody else?
    11                    MR. DOWD:     I would like a copy, e-tran;
    12    electronic format is sufficient.
    13                    THE COURT REPORTER:        Jon, would you like
    14    a copy?
    15                    MR. DETERS:     I don't think so at this
    16    time.
    17                    MR. KAY:     Not at this time.         Thank you.
    18                    MR. KASSON:     I'll take a copy.
    19                    MR. OWENS:     Actually, we will order this.
    20    Actually, only e-tran, no hard copy.             Regular time.
    21                    (WHEREUPON, the foregoing proceedings
    22    were concluded at 12:00 P.M.)
    23
    24
    25

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    1                          REPORTER'S CERTIFICATE
    2
    3     STATE OF TENNESSEE
    4     COUNTY OF DAVIDSON
    5                     I, SANDRA ANDRYS, LCR, RPR, RMR, with
    6     offices in Nashville, Tennessee, hereby certify that
    7     I reported the foregoing videoconference deposition
    8     of TIM L. WILSON by machine shorthand to the best of
    9     my skills and abilities, and thereafter the same was
    10    reduced to typewritten form by me.
    11                    I further certify that I am not related
    12    to any of the parties named herein, nor their
    13    counsel, and have no interest, financial or
    14    otherwise, in the outcome of the proceedings.
    15
    16
    17
    18
    19
    20
    21
    22              ________________________________________
                      SANDRA ANDRYS, LCR, RPR, RMR
    23                Licensed Court Reporter (TN)
                      Notary Public State of Tennessee
    24
                       My Notary Commission Expires:             6/26/22
    25                 LCR 583 - Expires: 6/30/2019

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